Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 1 of 96 Page ID #:179




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     and SAMANTHA PECKERAR, on behalf of
  16 themselves and all others similarly situated
  17
     (Additional Attorneys Listed on Signature Page)
  18
  19                       UNITED STATES DISTRICT COURT
  20        CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
  21 SCOTT PECKERAR and SAMANTHA                Case No.: 5:18-cv-02153-DMG-SP
     PECKERAR, on behalf of themselves
  22 and all others similarly situated,         CLASS ACTION
  23
                      Plaintiffs,               FIRST AMENDED CLASS
  24                                            ACTION COMPLAINT FOR:
  25                      v.
                                                (1) VIOLATIONS OF THE
  26 GENERAL MOTORS LLC,                        CALIFORNIA CONSUMERS
                                                LEGAL REMEDIES ACT (“CLRA”
  27               Defendant.                   (CAL. CIV. CODE §§ 1750, et seq.)
  28
                                                                       FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 2 of 96 Page ID #:180




   1
                                              (2) VIOLATION OF THE
   2                                          CALIFORNIA UNFAIR
   3                                          COMPETITION LAW (CAL. BUS.
                                              & PROF. CODE §§ 17200, et seq.)
   4
   5                                          (3) VIOLATION OF THE SONG-
                                              BEVERLY CONSUMER
   6                                          WARRANTY ACT
                                              BREACH OF IMPLIED
   7                                          WARRANTY
   8                                          (CAL. CIV. CODE §§ 1791, et seq.)
   9                                          DEMAND FOR JURY TRIAL
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                                                                      FIRST AMENDED
                                                             CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 3 of 96 Page ID #:181




   1                                            TABLE OF CONTENTS
   2
       I.      NATURE OF THE ACTION ............................................................................ 1
   3
       II.     JURISDICTION AND VENUE........................................................................ 2
   4
       III.    PARTIES ........................................................................................................... 3
   5
   6 IV.       FACTUAL BACKGROUND ........................................................................... 4
   7           A.       Plaintiffs Purchased a Defective Class Vehicle. ..................................... 4
   8           B.       Defendant GM Knowingly Sold Dangerously Defective Vehicles
   9                    to Consumers........................................................................................... 6
  10           C.       Consumers Have Extensively Reported the Safety Hazard to
                        GM. ......................................................................................................... 8
  11
  12 V.        CLASS ALLEGATIONS ................................................................................ 33
  13 VI.       TOLLING AND ESTOPPEL.......................................................................... 35
  14                    FIRST CAUSE OF ACTION
  15                         (Violation of the Consumers Legal Remedies Act) ................... 35
  16                    SECOND CAUSE OF ACTION
  17                        (Violation of the California Unfair Competition Law) .............. 38

  18                    THIRD CAUSE OF ACTION
                            (Violation of the Song-Beverly Consumer Warranty Act
  19                        Breach of Implied Warranty) ...................................................... 40
  20
       VII. RELIEF REQUESTED ................................................................................... 42
  21
       VIII. DEMAND FOR JURY .................................................................................... 45
  22
  23
  24
  25
  26
  27
  28
                                                                      i                                     FIRST AMENDED
                                                                                                   CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 4 of 96 Page ID #:182




   1         Plaintiffs SCOTT PECKERAR and SAMANTHA PECKERAR, on behalf of
   2 themselves and all others similarly situated allege as follows upon personal
   3 knowledge as to Plaintiffs’ own conduct and on information and belief as to all other
   4 matters based on an investigation by counsel, such that each allegation has
   5 evidentiary support or is likely to have evidentiary support upon further
   6 investigation and discovery:
   7   I.    NATURE OF THE ACTION
   8         1.    Plaintiffs bring claims under the consumer protection laws of California
   9 against Defendant GENERAL MOTORS LLC (“GM”).
  10         2.    This action arises from the sale or lease of thousands of vehicles
  11 throughout California manufactured by Defendant GM that are equipped with
  12 defective braking systems. These defective braking systems were installed in all
  13 model year 2015 to present Cadillac Escalades, 2014 to present Chevrolet
  14 Silverados, 2015 to present Chevrolet Suburbans, 2015 to present Chevrolet Tahoes,
  15 2014 to present GMC Sierras, and 2015 to present GMC Yukon/Yukon XLs (the
  16 “Class Vehicles”) and sold or leased to consumers in California, including Plaintiffs.
  17         3.    The irreparable and defective braking system supplied in all of the
  18 Class Vehicles features a defective design that is prone to sudden and unexpected
  19 loss of vacuum in the brake booster, requiring replacement of the brake booster
  20 and/or the system’s vacuum pump. When Class Vehicles suddenly and unexpectedly
  21 lose vacuum, the resulting brake booster failure makes Class Vehicles difficult to
  22 stop: the brake pedal becomes hard, much more force is required from the driver to
  23 slow the vehicle, and stopping distance is severely and suddenly compromised. The
  24 defective braking system common to all Class Vehicles is a clear safety hazard that
  25 was never disclosed to any member of the class prior to purchase.
  26         4.    Reasonable efforts undertaken by the Class to remedy this defect with
  27 or through GM have been unsuccessful.
  28 / / /
                                                1                           FIRST AMENDED
                                                                   CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 5 of 96 Page ID #:183




   1         5.    GM sold, leased, and continues to sell and lease the Class Vehicles
   2 despite its awareness of the defect and the danger it poses to consumers and other
   3 drivers. GM chose and continues to choose financial gain at the expense of
   4 consumer safety by concealing and omitting a disclosure of this critical safety defect
   5 to consumers who purchase or lease Class Vehicles.
   6         6.    GM has been aware of the safety hazard posed by its defective braking
   7 system since at least 2014. GM should not have sold, leased, or marketed the Class
   8 Vehicles without a full and complete disclosure of the Class Vehicles’ safety defect,
   9 and should have voluntarily recalled the Class Vehicles long ago.
  10         7.    Plaintiffs bring this action on behalf of themselves and all those
  11 similarly situated (“Class,” “Class Members,” “Consumers,” “Owners”) for GM’s
  12 deceptive trade practices in violation of the consumer protection laws of California,
  13 and for equitable relief. Plaintiffs seek damages, injunctive and declaratory relief,
  14 restitution, disgorgement of profits, attorney’s fees and costs, punitive damages, and
  15 the repair of, replacement of, or refund of money paid to own or lease all Class
  16 Vehicles in California, except that no monetary relief is presently sought for
  17 violations of the Consumers Legal Remedies Act.
  18   II.   JURISDICTION AND VENUE
  19         8.    Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over
  20 the Plaintiffs’ and the Class Members’ claims in that diversity of citizenship exists
  21 and Plaintiffs seek to represent a Class of persons in a matter in controversy that
  22 exceeds the sum or value of $5,000,000, exclusive of interest and costs.
  23         9.    This Court has general and specific jurisdiction over the Defendant
  24 because Defendant GM has sufficient minimum contacts with California and within
  25 the Central District of California to establish Defendant’s presence in California,
  26 and certain material acts upon which this suit is based occurred within the Central
  27 District of California, to include but not be limited to the sale of the Defendant’s
  28 defective product to the Plaintiffs.
                                                2                           FIRST AMENDED
                                                                   CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 6 of 96 Page ID #:184




   1          10.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)
   2 because Defendant is subject to personal jurisdiction within the Central District of
   3 California and a substantial part of the events or omissions giving rise to the claims
   4 asserted herein occurred in this judicial district. GM does substantial business in the
   5 State of California and within this Judicial District, is registered to and is doing
   6 business within the State of California, and otherwise maintains requisite minimum
   7 contacts with the State of California. Additionally, GM distributes Class Vehicles in
   8 this District and receives substantial compensation and profits from the sale and
   9 lease of Class Vehicles in this District, and has and continues to conceal and make
  10 material omissions in this District so as to subject it to in personam jurisdiction in
  11 this District. Furthermore, venue is proper in this District because, like many other
  12 Class Members, significant and material aspects of the transactions relating to
  13 Plaintiffs’ purchase of their Class Vehicle occurred within and were otherwise
  14 connected to this Judicial District.
  15   III.   PARTIES
  16          11.   Plaintiffs Scott Peckerar and Samantha Peckerar are adult citizens and
  17 reside in this judicial district and division.
  18          12.   Defendant GENERAL MOTORS LLC is a Delaware limited liability
  19 company whose principal place of business is in the State of Michigan. On
  20 information and belief, none of General Motors LLC’s members have citizenship in
  21 the state of California. Defendant GM manufactured, distributed, sold, serviced
  22 and/or warranted the Class Vehicles made the subject of this litigation. GM
  23 distributed, sold, serviced and/or warranted, directly or indirectly, thousands of
  24 Class Vehicles to Plaintiffs and the Class Members with the understanding and
  25 expectation that those vehicles would be sold in, operate in, and be fit for their
  26 intended purpose in California.
  27 / / /
  28 / / /
                                                      3                      FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 7 of 96 Page ID #:185




   1   IV.    FACTUAL BACKGROUND
   2          A.    Plaintiffs Purchased a Defective Class Vehicle.
   3         13.    On or about January 18, 2017, Plaintiffs purchased a new 2017 model
   4 year Chevrolet Suburban at a franchised General Motors dealership, Paradise
   5 Chevrolet, located in Riverside County, California. Plaintiffs executed all sales
   6 documents in Riverside County, California.
   7         14.    On April 11, 2017, Paradise Chevrolet was performing maintenance on
   8 Plaintiffs’ Suburban at 7,113 miles and found a leak of engine oil. Paradise
   9 Chevrolet diagnosed the vehicle with a failed vacuum pump. The Repair Order
  10 stated: “VERIFIED ENGINE OIL LEAK PRESENT AT ENGINE VACUUM
  11 PUMP. LEAK CAUSED BY FAILING SHAFT SEAL ON VACUUM PUMP.
  12 NECESSARY TO REPLACE VACUUM PUMP ASSEMBLY TO REPAIR.
  13 REPLACED VACUUM PUMP ASSEMBLY AND ASSOCIATED GASKETS
  14 AND HARDWARE.”
  15         15.    On April 11, 2017, Plaintiffs’ Suburban was still covered by GM’s
  16 express bumper-to-bumper limited warranty, and Plaintiffs had owned the vehicle
  17 for less than one year. The original repair for the Suburban’s vacuum pump was
  18 replaced under warranty, but the fix failed to remedy the defect in the vehicle’s
  19 braking system.
  20         16.    On April 5, 2018, Plaintiff Samantha Peckerar was driving the
  21 Suburban and experienced a startling issue with her brakes. She pressed her brake
  22 pedal but the pedal became hard and prevented her from stopping her vehicle,
  23 resulting in a collision with the vehicle in front of her.
  24         17.    Concerned for the safety of their family, Plaintiffs informed GM about
  25 the braking problem with their Suburban.
  26         18.    General Motors sent an investigator to visit the Plaintiffs home and
  27 inspect the Plaintiffs’ Suburban. GM’s representatives told Plaintiffs that no
  28 electronic data retrieved from the vehicle evidenced a defect. GM’s representatives
                                                  4                         FIRST AMENDED
                                                                   CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 8 of 96 Page ID #:186




   1 also told Plaintiff Samantha Peckerar that she should consult her manual to
   2 understand the operation of her Suburban’s brakes. Despite Plaintiffs’ insistence,
   3 GM refused to do any kind of field testing of the vehicle or otherwise evaluate it for
   4 safety under driving conditions. Instead, GM attempted to induce Plaintiffs into
   5 signing a release for any claims of liability against GM or its franchised dealerships,
   6 including a promise of confidentiality, in exchange for the cost of repair to the
   7 Suburban’s front bumper.
   8        19.    Plaintiffs were unsatisfied by GM’s refusal to diagnose the brake
   9 failure that caused the collision and brought the vehicle to Paradise Chevrolet for
  10 further inspection. Unlike GM’s corporate representatives, the GM dealership drove
  11 the vehicle to confirm what Plaintiffs already knew—there was a problem with the
  12 Suburban’s brakes.
  13        20.    Paradise Chevrolet test drove the Suburban and discovered that the
  14 Suburban failed to maintain vacuum boost. The Repair Order stated: “BODY SHOP
  15 ADVISED THAT AFTER APPLYING AND RELEASING THE BRAKE PEDAL
  16 AND THEN RE-APPLYING IMMEDIATELY AFTER FOR PANIC STOP THAT
  17 BRAKE PEDAL FELT HARD AND VEHICLE DID NOT STOP AS DESIGNED.
  18 … DROVE VEHICLE VERIFIED AFTER SECOND OR THIRD BRAKE
  19 APPLICATION THAT THE PEDAL GETS HARD AND THE BRAKE ASSIST
  20 FAILS TO PROVIDE ASSIST.”
  21        21.    The cause of the collision was confirmed to be a second in-warranty
  22 failure of the vacuum pump, demonstrating that GM’s supposed fix for the Class
  23 Defect is ineffective and dangerous. The Repair Order states: “SLOW TO BUILD
  24 VACUUM BACK UP, REC VACUUM PUMP REPLACEMENT AND RETEST.
  25 … ALSO SCAN TEST FOUND Code C025E brake booster sensor circuit/not
  26 plausible stored in the EBCM. … Verified with GM technical assistance code
  27 C025E 5A is related to low vacuum. … REPLACED VACUUM PUMP
  28 ASSEMBLY. CLEARED CODE.”
                                                 5                           FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 9 of 96 Page ID #:187




   1         B.     Defendant GM Knowingly Sold Dangerously Defective Vehicles to
                    Consumers.
   2
   3        22.    In fact, Plaintiffs’ dealership had been familiar with the Class Defect
   4 for at least three years when it repaired and replaced the vacuum pump in Plaintiffs’
   5 Suburban for the second time. In February of 2015, Defendant GM had issued a
   6 service bulletin #PIT5361B to all of its franchised dealerships. This bulletin affected
   7 the Class Vehicles produced to date at the time: 2015 Cadillac Escalade; 2014-2015
   8 Chevrolet Silverado 1500; 2015 Chevrolet Suburban; 2015 Chevrolet Tahoe; 2014-
   9 2015 GMC Sierra 1500; and 2015 Yukon. (Exhibit A.)
  10        23.    In the bulletin, GM expressly acknowledged that “a customer may
  11 comment on a hard brake pedal or that increased effort is needed to depress the
  12 brake pedal” (hereinafter the “Class Defect”). As evidence of the Class Defect,
  13 Defendant GM notified its dealers, “While performing normal diagnostics, fluid
  14 may be found in the brake booster and/or the booster vacuum line.” The service
  15 bulletin was “intended for use by professional technicians … written to inform these
  16 technicians of conditions that may occur on some vehicles.” The service bulletin
  17 was not, however, written or intended for the consuming public, including Plaintiffs
  18 and any Class Members.
  19        24.    Since the release of the Class Vehicles (the earliest of which was
  20 Spring 2013), Defendant GM has received numerous warranty returns, customer
  21 complaints, and National Highway Traffic Safety Administration “Vehicle Owner
  22 Questionnaires” (“NHTSA VOQs”) relating to the defect.
  23        25.    As a result, GM investigated the defect, developed a countermeasure
  24 (attempted fix), and then cascaded the countermeasure into the field through their
  25 dealerships in the form of a service bulletin effective February 2015. The service
  26 bulletin requires extensive repair to include the replacement of the Vacuum Pump,
  27 Vacuum Line Between the booster and the pump, Brake Booster, and Master
  28 Cylinder. The service campaign process does not happen overnight, especially for a
                                                 6                           FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 10 of 96 Page ID #:188




    1 repair as extensive as the February 2015 service campaign; it takes many months to
    2 identify the problem, attempt to fix it, and implement the fix in the field. GM knew
    3 their Class Vehicles suffered from the Class Defect well before Plaintiffs purchased
    4 their 2017 Chevrolet Suburban, but GM concealed the defect from unwitting
    5 consumers who unknowingly purchased Class Vehicles with a hidden defect.
    6        26.    Ultimately, Defendant GM would issue a series of service bulletins
    7 only to its dealers regarding the brake defect, including bulletins for the following
    8 Class Vehicles and year models: 2015-2016 Cadillac Escalade; 2014-2016
    9 Chevrolet Silverado 1500; 2015-2016 Chevrolet Suburban; 2015-2016 Chevrolet
   10 Tahoe; 2014-2016 GMC Sierra 1500; and 2015-2016 Yukon. (See Exhibit A.) As
   11 part of GM’s overall strategy to engage in material omission and deception upon
   12 Plaintiffs and the Class Members, these bulletins contain false, misleading, or
   13 deceptive information about the potential for curing the defects because the
   14 purported repairs do not fix the defect and the statements are designed to mislead
   15 dealers and technicians who repair Class Vehicles.
   16        27.    Defendant GM had knowledge of the Class Defect prior to the sale of
   17 the Class Vehicle to Plaintiffs. Further, Defendant GM took no action to alert
   18 Plaintiffs or the Class Members of the defect in the Class Vehicles prior to their
   19 purchase or after their purchase.
   20        28.    As of February 10, 2016, GM had verified at least some 19 affected
   21 vehicle models where the “CUSTOMER WILL NEED INCREASED EFFORT TO
   22 DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE
   23 BRAKE BOOSTER AND/OR THE BOOSTER LINE. TECHNICIAN WILL
   24 NEED TO REPLACE VACUUM PUMP, BRAKE BOOSTER, MASTER
   25 CYLINDER, VACUUM PUMP BELT AND VACUUM LINE BETWEEN THE
   26 BOOSTER AND THE PUMP.” (See Exhibit B.) The 19 affected vehicle models are
   27 the Class Vehicles which GM continued to sell without disclosure to the Class
   28 Members even after this admission.
                                                 7                          FIRST AMENDED
                                                                   CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 11 of 96 Page ID #:189




    1        29.    Disturbingly, the number of customer complaints echoed what GM
    2 already knew about its defective brake system: the need for increased effort to
    3 depress brake pedal, high occurrences in stop and go traffic, high occurrences of
    4 failure at lower speeds, brake booster issue, replacement of brake booster,
    5 replacement of master cylinder, safety issue, etc. (See Exhibit C.)
    6        30.    Further, Defendant GM knowingly sold thousands of Class Vehicles to
    7 unsuspecting Class Members to whom GM said nothing about the braking defect
    8 after its knowledge of the Class Defect.
    9         C.    Consumers Have Extensively Reported the Safety Hazard to GM.
   10        31.    The National Highway Traffic Safety Administration (“NHTSA”)
   11 provides a system for motor vehicle owners to report complaints relating to safety
   12 defects that pose a risk of accidents in vehicles manufactured or imported in the
   13 United States, including safety defects relating to brake malfunctions. The safety
   14 defect complaints are entered into the NHTSA consumer complaint automated
   15 database, which is accessible to manufacturers and are routinely reviewed by GM
   16 soon after the submission of each complaint. NHTSA also provides these consumer
   17 complaints to the vehicle manufacturers directly, including GM. Given the vast
   18 majority of owners of Class Vehicles are not aware of NHTSA and/or its reporting
   19 system, complaints received by NHTSA form an extremely small minority of the
   20 overall number of complaints which have been made to GM directly and/or through
   21 their authorized dealerships, including through the form of warranty repairs.
   22        32.    Since at least 2014, GM has received complaints of braking defects and
   23 safety concerns related to the loss of vacuum boost in the Class Vehicles through
   24 NHTSA, the Better Business Bureau, internet forums, GM’s franchised dealerships,
   25 and directly by owners of Class Vehicles.
   26        33.    Despite Defendant GM’s wealth of knowledge relating to the Class
   27 Defect in the Class Vehicle’s defective braking system and its clear safety
   28 implications, GM has and continues to suppress and conceal this knowledge and has
                                                  8                           FIRST AMENDED
                                                                     CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 12 of 96 Page ID #:190




    1 failed to disclose that its Class Vehicles’ braking systems are defective and
    2 dangerous. Consumers continue to operate Class Vehicles and continue to
    3 experience dangerous failures of the defective braking system, and are at increased
    4 risk for crashes.
    5        34.   Consumers have submitted individual NHTSA complaints regarding
    6 Class Vehicles consistent with a loss of brake boost as described in GM’s TSBs.
    7 These consumer complaints filed with the NHTSA, and delivered to GM, often
    8 highlight the safety risk caused by the defect, including reports of collisions and
    9 near-misses, as well as expressions of concern for drivers’ families—without
   10 concern and resolution by GM. GM received and were aware of these consumer
   11 complaints. Many of these complaints are reprinted in the paragraphs below.
   12        35.   A consumer complaint dated 10/9/2014 and submitted to NHTSA
   13 states the following regarding a Class Vehicle: THE ABS ENGAGES AT SLOW
   14 SPEEDS INCLUDING DRY CONDITIONS, LEADING TO TOTAL LOSS OF
   15 BRAKING AND INCREASED STOPPING DISTANCES. *TR.
   16        36.   A consumer complaint dated 1/15/2015 and submitted to NHTSA
   17 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   18 2015 CHEVROLET TAHOE. WHILE DRIVING AT 45 MPH, THE SERVICE
   19 BRAKE ASSIST WAS DISPLAYED ACROSS THE MESSAGE BOARD. IN
   20 ADDITION, THE CONTACT STATED THAT THE BRAKE PEDAL WAS
   21 DEPRESSED AND IT TOOK A GREATER AMOUNT OF TIME FOR THE
   22 VEHICLE TO COME TO A COMPLETE STOP. THE FAILURE RECURRED
   23 ON NUMEROUS OCCASIONS. THE VEHICLE WAS TAKEN TO A DEALER
   24 BUT WAS NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER WAS
   25 NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE WAS 16,562.
   26 UPDATED 6/18/15*CN UPDATED 10/12/2017*CN.
   27        37.   A consumer complaint dated 11/13/2015 and submitted to NHTSA
   28 states the following regarding a Class Vehicle: THE VEHICLE HAD VIRTUALLY
                                                9                          FIRST AMENDED
                                                                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 13 of 96 Page ID #:191




    1 NO BRAKES TO STOP IT AND 11,215 MILES. GENERAL MOTORS
    2 ALREADY HAD SERVICE WARNINGS OUT TO DEALERS DATED
    3 7/17/2015, GM DOCUMENT ID #4242788. THEY SAY THEY REPLACED
    4 PADS AND ROTORS. AT 23,589 MILES THE VEHICLE NEEDED BRAKES
    5 AGAIN. SERVICE MANAGER TELLS US THAT THIS IS A KNOWN
    6 PROBLEM AT GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW
    7 WARNING FOR 2016 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE
    8 TO DRIVE IN THAT THE BRAKES CAN GO OUT WITHOUT ANY
    9 WARNING.
   10       38.   A consumer complaint dated 1/4/2016 and submitted to NHTSA states
   11 the following regarding a Class Vehicle: THE VEHICLE HAD VIRTUALLY NO
   12 BRAKES TO STOP IT AND 11,215 MILES. GENERAL MOTORS ALREADY
   13 HAD SERVICE WARNINGS OUT TO DEALERS DATED 7/17/2015, GM
   14 DOCUMENT ID #4242788. THEY SAY THEY REPLACED PADS AND
   15 ROTORS. AT 23,589 MILES THE VEHICLE NEEDED BRAKES AGAIN.
   16 SERVICE MANAGER TELLS US THAT THIS IS A KNOWN PROBLEM AT
   17 GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW WARNING FOR
   18 2016 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE TO DRIVE IN
   19 THAT THE BRAKES CAN GO OUT WITHOUT ANY WARNING.
   20       39.   A consumer complaint dated 2/10/2016 and submitted to NHTSA
   21 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   22 2015 GMC YUKON. WHILE DRIVING VARIOUS SPEEDS, THE BRAKE
   23 PEDAL WAS APPLIED AND THE VEHICLE FAILED TO STOP. THE BRAKE
   24 PEDAL HAD TO BE PUMPED SEVERAL TIMES TO STOP THE VEHICLE.
   25 THE VEHICLE WAS TAKEN TO THE DEALER WERE IT WAS DIAGNOSED
   26 THAT THE BRAKE BOOSTER NEEDED TO BE ADJUSTED. THE VEHICLE
   27 WAS REPAIRED, BUT THE FAILURE RECURRED. THE VEHICLE WAS
   28 TAKEN BACK TO THE DEALER WHERE THE BRAKE FAILURE WAS
                                            10                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 14 of 96 Page ID #:192




    1 DUPLICATED AND DIAGNOSED THAT THE BRAKE BOOSTERS NEEDED
    2 TO BE REPLACED. THE MANUFACTURER WAS NOTIFIED OF THE
    3 FAILURE. THE FAILURE MILEAGE WAS 35,000.
    4       40.   A consumer complaint dated 7/4/2016 and submitted to NHTSA states
    5 the   following   regarding   a   Class   Vehicle:   TRAILER   BRAKE    ASSIST
    6 MALFUNCTION         DURING        TRIP    WHILE      DRIVING   WITH    TRAILER
    7 CONNECTED ON HIGHWAY NO PROBLEM AFTER ENDING TRIP AND
    8 DISCONNECTING TRAILER BRAKE ASSIST WARNING LIGHT APPEARED
    9 AND 1ST GLANCE BRAKES SEEMED FINE BUT FINAL PEDAL PRESSURE
   10 IS VERY STIFF ALMOST CAN'T STOP SUV
   11       41.   A consumer complaint dated 8/2/2016 and submitted to NHTSA states
   12 the following regarding a Class Vehicle: BRAKES COMPLETELY FAILED. I
   13 PULLED INTO TRAIN PARKING SPOT AND THE CARS WOULD NOT STOP.
   14 I HAD TO KEEP PUMPING THE BRAKES AND EVENTUALLY IT JUST
   15 STOPPED. I TRIED IT GAIN AND THE BRAKES WERE HARD AND
   16 COULDN'T PUSH THEM DOWN. I AM SO LUCKY THAT I WAS NOT ON A
   17 HIGHWAY GOING FAST WITH MY KIDS IN THE CAR. CADILLAC SAID I
   18 NEEDED THE HYDRO BOOST REPLACED.
   19       42.   A consumer complaint dated 9/7/2016 and submitted to NHTSA states
   20 the following regarding a Class Vehicle: I AM WRITING ABOUT MY 2015
   21 CHEVY SUBURBAN. I OWN A LIMOUSINE SERVICE AND USE THE
   22 SUBURBAN IN MY FLEET. YESTERDAY A DRIVER, WITH PASSENGERS,
   23 HAD A TOTAL FAILURE OF THE POWER BRAKING SYSTEM. IT IS AT A
   24 LOCAL REPAIR SHOP NOW, AND I AM BEING TOLD THE AIR PUMP HAD
   25 BROKEN APART, INSIDE, SNAPPED THE FAN BELT RESULTING IN NO
   26 VACUUM GETTING TO THE POWER BRAKE SYSTEM. MY DRIVER WAS
   27 BARELY ABLE TO STOP THE VEHICLE BEFORE REAR ENDING
   28 ANOTHER CAR ON THE HIGHWAY. THE VEHICLE HAS 54,000 MILES
                                                11                        FIRST AMENDED
                                                                 CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 15 of 96 Page ID #:193




    1 AND I AM BEING TOLD IS OUT OF THE BUMPER TO BUMPER
    2 WARRANTY. THERE ARE ALSO NO OPEN RECALLS. I AM REPORTING
    3 THIS ISSUE TO THE NHTSA AND THE MASSACHUSETTS ATTORNEY
    4 GENERAL'S OFFICE, AS I BELIEVE THIS IS AN IMMEDIATE DANGER TO
    5 THE GENERAL MOTORING PUBLIC. I JUST CONTACTED CHEVROLET BY
    6 PHONE AND EMAIL. THE REPRESENTATIVE ON THE PHONE SAID ALL
    7 SHE COULD TELL ME IS THAT IT'S OUT OF WARRANTY, THERE WERE
    8 NO RECALLS, AND I AM BASICALLY ON MY OWN TO REPAIR. I HOPE
    9 YOU ARE ABLE TO INVESTIGATE THIS SITUATION, IDENTIFY THE
   10 CAUSE OF THIS FAILURE, AND COME UP WITH A REMEDY FOR THE
   11 SAFETY OF EVERYONE.
   12       43.   A consumer complaint dated 10/14/2016 and submitted to NHTSA
   13 states the following regarding a Class Vehicle: BRAKES STOPPED WORKING .
   14 FIRST TIME IT HAPPENED I THOUGHT IT WAS MY IMAGINATION AS I
   15 WAS IN A PARKING LOT GOING EXTREMELY SLOW. NEXT DAY IT
   16 HAPPENED WHEN BACKING OUT OF MY DRIVEWAY. HAD TO PRESS
   17 BRAKES EXTREMELY HARD AND IT ROLLED TO A STOP AS IT HIT
   18 CURB ON OTHER SIDE OF ROAD. TOOK IT TO DEALER AND THEY
   19 REPLACE THE VACUUM BOOSTER WHICH HAD FAILED AT APROX.
   20 50,000 MILES. NOT COVERED UNDER WARRANTY. EVERY OTHER PART
   21 OF BRAKES BESIDES NORMAL WEAR AND TEAR IS COVERED. I WAS
   22 LUCKY IT HAPPENED IN MY DRIVEWAY AND NOT WHILE DRIVING AT
   23 HIGHER SPEEDS IN TRAFFIC. I HAVE ADDITIONAL COMPLAINTS
   24 ABOUT THIS VEHICHLE. THE CLIPS HOLDING DRIVERS SEAT HAD TO
   25 BE REPLACED AT 40,000 MILES BECAUSE SEAT WAS SLIDING FROM
   26 SIDE TO SIDE. THEY ARE ALL READY LOOSE AGAIN AT 60,000 MILES
   27 ALTHOUGH NOT AS BAD AS FIRST TIME. MY AC CONDENSER WENT
   28 OUT AT 62,000 MILES. IT HAS BEEN ON NATIONAL BACKORDER FOR 7
                                            12                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 16 of 96 Page ID #:194




    1 WEEKS AND I AM STILL WAITING. THE CAR SHAKES ON THE
    2 INTERSTATE AT APROX 70 -75 MILES PER HOUR. THE DEALERSHIP HAS
    3 BALANCED THE TIRES AND THIS HAS NOT FIXED PROBLEM. AFTER
    4 DRIVING ON INTERSTATE AT HIGH SPEEDS FOR EXTENDED PERIOD OF
    5 TIME, WHEN STOPPING THE CAR IDLES VERY ROUGH AND HAS EVEN
    6 CUT OFF. THE DEALERSHIP RAN A FUEL INDUCTION SERVICE. WILL
    7 SEE IF IT WORKS WHEN I GET IT BACK AFTER THEY REPLACE AC
    8 CONDENSER. THE CAR SHIFTS HORRIBLY, ESPECIALLY WHEN GOING
    9 SLOW. WAS TOLD THAT IS A PROBLEM WITH THE FUEL EFFICIENT
   10 SHIFTING AND THERE IS NO REPAIR...JUST TO MANUALLY SHIFT.
   11 ALSO, THE HOOD OF THE CAR HAS TINY RUST SPOTS COMING
   12 THROUGH THE PAINT ALL OVER IT.
   13       44.   A consumer complaint dated 11/28/16 and submitted to NHTSA states
   14 the following regarding a Class Vehicle: I HAVE A 2015 CHEVY. SUBURBAN
   15 LT THE BRAKE PEDAL IS HARD TO PRESS AND THE CAR CONTINUE TO
   16 ROLL EVEN AFTER I APPLY THE BRAKE DESPITE THE ROTOR AND ALL
   17 THE PADS HAVE BEEN REPLACED.....THIS IS VERY DANGEROUS.
   18       45.   A consumer complaint dated 12/1/2016 and submitted to NHTSA
   19 states the following regarding a Class Vehicle: THE BRAKES POWER ASSIST
   20 FAILS AFTER APPLICATION OF BRAKES IN TRAFFIC OR WHEN
   21 REVERSING. WHEN IN HEAVY TRAFFIC SITUATION AND WHEN
   22 APPLYING LIGHT PRESSURE NUMEROUS TIMES, THE BRAKES POWER
   23 ASSIST FAILS AND YOU HAVE TO APPLY VERY HEAVY PRESSURE TO
   24 THE PEDAL TO STOP. REVERSING, THE BRAKES POWER ASSIST FAILS
   25 ALMOST IMMEDIATELY AFTER INITIAL BRAKE APPLICATION.
   26       46.   A consumer complaint dated 1/15/17 and submitted to NHTSA states
   27 the following regarding a Class Vehicle: SOME TIME WHEN I BRAKE, THE
   28 CAR DO NOT STOP IMMEDIATELY IS SLIGHTING BEFORE STOPPING BY
                                            13                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 17 of 96 Page ID #:195




    1 BRAKE, AND BACKWARD DRIVING THE CAR DO NOT WANT TO STOP
    2 AND AFTER, DRIVING AGAIN REGULARLY IS FINE I HAD THE CAR IN
    3 SERVICE THEY SAY THE CAR IS FINE...........I TOUGH MAYBE I HAVE TO
    4 RENEW THE BRAKE BUT NO BRAKE ARE FINE. THIS PROBLEM BEGAN
    5 ON JANUARY 1017 UNTIL NOW, BUT IN PERIOD OF COMING AND GO. I
    6 ASK THE SERVICE IS ANY RECALLS? THEY TOLD ME" SUBURBAN DO
    7 NOT HAVE ANY "RECALLS"
    8       47.   A consumer complaint dated 2/28/2017 and submitted to NHTSA
    9 states the following regarding a Class Vehicle: WHILE DRIVING HER VEHICLE
   10 TODAY MY WIFE DEPRESSED HER BRAKE TO STOP AND SHE SAID THE
   11 BRAKE FELT LIKE PUSHING ON A RUBBER TIRE. THE CAR WOULD NOT
   12 STOP CAUSING HER TO RUN A STOP SIGN AND HIT ANOTHER VEHICLE.
   13 WE HAD THE SAME PROBLEM LAST MONTH AND THE VEHICLE WAS
   14 TAKEN       TO   THE    CHEVROLET       DEALERSHIP      AND     "REPAIRED"
   15 ACCORDING TO THE CURRENT SAFETY BULLETIN ISSUED BY
   16 CHEVROLET. THIS COLLISION CAUSED THE OTHER PERSON TO GO TO
   17 THE HOSPITAL VIA EMS AND MY WIFE WAS TAKEN BY POV TO ER FOR
   18 EVALUATION. OBVIOUSLY WHATEVER "FIX" WAS DONE BY THE
   19 DEALERSHIP WAS NOT THE CAUSE OF THE PROBLEM. I WAS TOLD THE
   20 VACUUM ASSIST PUMP AND HOSES WERE REPLACED, BUT THE
   21 VEHICLE STILL HAD THE SAME ISSUE.
   22       48.   A consumer complaint dated 4/8/2017 and submitted to NHTSA states
   23 the following regarding a Class Vehicle: I WAS ON SLOPE HILL. MY BRAKES
   24 ARE NOT RESPONDING. I PUT IN NEW BRAKES 2 MONTHS AGO AND
   25 BRAKES NOT RESPONDING? MY CAR ALMOST WENT DOWN THE HILL. I
   26 CALLED ROADSIDE ASSISTANCE AND HAD THEM TOWED MY CAR TO
   27 DEALERSHIP. THEY FOUND THE ISSUE VACUUM PUMP BROKE. ALSO
   28 MY TRANSMISSION HAVING ISSUE SINCE 2 MONTHS. THEY STILL
                                            14                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 18 of 96 Page ID #:196




    1 HAVEN'T FOUND ISSUES. I CAN'T CONTROL MY SPEED AND ENGINE
    2 GIVES A KICK WHEN ENTERING HIGHWAY. THEY WON'T REPAIR THIS
    3 ISSUE BECAUSE THEIR "MECHANICS" CANNOT FIND THE ISSUE. THIS IS
    4 THIS WORST VEHICLE TO DRIVE ANDUNSAFE FOR DRIVERS AND
    5 PASSENGERS.
    6       49.   A consumer complaint dated 6/17/2017 and submitted to NHTSA
    7 states the following regarding a Class Vehicle: BRAKE BOOSTER WENT OUT
    8 WHILE DRIVING WITH MY CHILDREN IN THE CAR!
    9       50.   A consumer complaint dated 6/28/2017 and submitted to NHTSA
   10 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   11 2016 CHEVROLET SILVERADO 1500. WHEN THE BRAKE PEDAL WAS
   12 DEPRESSED, THE VEHICLE LOST BRAKE FUNCTIONALITY. THE
   13 FAILURE OCCURRED WITHOUT WARNING. THE VEHICLE WAS TAKEN
   14 TO HILLTOP CHEVROLET WHERE IT WAS DIAGNOSED THAT THE
   15 VACUUM PUMP WAS FAULTY. THE VEHICLE WAS REPAIRED. THE
   16 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
   17 MILEAGE WAS APPROXIMATELY 23,367.
   18       51.   A consumer complaint dated 6/29/2017 and submitted to NHTSA
   19 states the following regarding a Class Vehicle: WHILE DRIVING ON I90 IN STOP
   20 AND GO TRAFFIC, THE CAR IN FRONT OF ME STOPPED. I APPLIED MY
   21 BRAKES AND THE PEDAL WAS HARD AND WOULD NOT DEPRESS. AS A
   22 RESULT MY CAR WOULD NOT STOP AND I HIT THE CAR IN FRONT OF
   23 ME IN THE REAR END. MY AIR BAGS WENT OFF. I RECEIVED AN AIR
   24 BAG BURN. THE CAR IN FRONT OF ME STRUCK THE CAR IN FRONT OF
   25 HIM. BOTH OTHER DRIVERS CLAIM THEY WERE INJURED. MY CAR
   26 COST $15,300 TO REPAIR. CHEVROLET IS AWARE OF THIS PROBLEM,
   27 ISSUING     PRELIMINARY       SERVICE      BULLETIN     PIT5361    IN   2015,
   28 ADDENDUM B IN 2016 AND ADDENDUM B IN 2017. THE PROBLEM IS A
                                            15                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 19 of 96 Page ID #:197




    1 FAULTY VACUUM PUMP, MASTER CYLINDER, BRAKE BOOSTER,
    2 VACUUM LINE, AND VACUUM PUMP BELT. I WAS NEVER INFORMED
    3 OF THIS PROBLEM. I HAVE BEEN DRIVING 50 YEARS AND THIS IS MY
    4 FIRST CHARGEABLE ACCIDENT.
    5       52.   A consumer complaint dated 7/16/2017 and submitted to NHTSA
    6 states the following regarding a Class Vehicle: WHILE EXITING THE OHIO
    7 TURNPIKE,      MY    BRAKE    PEDAL     BEGAN     TO   STOP    DEPRESSING
    8 COMPLETELY- TO THE POINT WHERE I COULDN'T PUSH DOWN AT ALL.
    9 IT FELT LIKE AN OVER-PUMPED KEG. AS I CONTINUED MY EXIT
   10 TOWARD THE TOLL BOOTH, IT SEEMED THAT THE ABS WERE
   11 ENGAGING, BUT I WASN'T IN AN EMERGENCY BRAKING SITUATION.
   12 THE REST OF MY JOURNEY HOME WAS UNEVENTFUL, UNTIL I
   13 ARRIVED HOME. I PULLED INTO MY GARAGE, AND ATTEMPTED TO
   14 BACK OUT SO I CHECK UNDER THE VEHICLE TO MAKE SURE THERE
   15 WASN'T ANYTHING LEAKING. AS I BACKED OUT, MY BRAKES WOULD
   16 NOT ENGAGE PROPERLY AGAIN AND MY CAR ROLLED BACK DOWN
   17 MY DRIVE WAY. THE CAR STOPPED AND I PARKED IT WHERE IT WAS.
   18 LATER IN THE DAY, I WAS ABLE TO PULL THE CAR INTO MY GARAGE
   19 WITHOUT INCIDENT. I TOOK THE CAR TO CHESROWN GMC (THE
   20 DEALERSHIP WHERE I PURCHASED THE VEHICLE). THEY ADVISED
   21 THEY HAD NEVER HEARD OF SUCH A SITUATION AND HAD ME BEING
   22 VEHICLE TO THEM. I COULDN'T REPLICATE THE ISSUE WITH THEM,
   23 BUT LEFT THE CAR WITH THEM SO THEY COULD CHECK IT OUT FOR
   24 ISSUES. THEY REPLACED THE THE BRAKE VACUUM PUMP. TODAY
   25 (7/31/17), THE BRAKES STARTED TO BEHAVE IN THE SAME MANNER AS
   26 WHEN THEY FAILED ON 7/16/17.
   27       53.   A consumer complaint dated 8/11/2017 and submitted to NHTSA
   28 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
                                            16                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 20 of 96 Page ID #:198




    1 2016 CHEVROLET SILVERADO 1500. WHILE OPERATING ON AN INCLINE,
    2 THE BRAKE PEDAL WAS DEPRESSED BUT FAILED TO RESPOND. THE
    3 FAILURE OCCURRED WITHOUT WARNING. KENNY ROSS CHEVROLET
    4 BUICK GMC (LOCATED AT 11250 US-30, NORTH HUNTINGTON, PA) WAS
    5 CONTACTED AND UPDATED THE SOFTWARE AND TRANSMISSION. THE
    6 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
    7 MILEAGE WAS APPROXIMATELY 18,025.
    8       54.   A consumer complaint dated 8/13/2017 and submitted to NHTSA
    9 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   10 2015 CHEVROLET TAHOE. THE CONTACT STATED THAT WHILE
   11 DRIVING AT 5 MPH, THE BRAKE PEDAL WAS APPLIED BUT FAILED TO
   12 RESPOND WITHOUT WARNING. THE VEHICLE WAS TOWED TO A
   13 LOCAL DEALER: COUGHLIN FORD OF CIRCLEVILLE LOCATED AT 24001
   14 US HIGHWAY 23 S CIRCLEVILLE OH 49113 WHERE IT WAS DIAGNOSED
   15 THAT THE BRAKE SENSOR NEEDED TO BE REPLACED. THE VEHICLE
   16 WAS REPAIRED BUT THE FAILURE RECURRED. THE VEHICLE WAS
   17 THEN TOWED TO HARE CHEVROLET LOCATED AT 2001 STONY CREED
   18 RD NOBLESVILLE IN 46060 WHERE IT WAS DIAGNOSED THAT THE
   19 VACUUM PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS
   20 REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE AND
   21 OPENED CASE # 8-31775454 BUT DID NOT OFFER ANY FURTHER
   22 ASSISTANCE. THE FAILURE MILEAGE WAS 31,000.
   23       55.   A consumer complaint dated 8/18/2017 and submitted to NHTSA
   24 states the following regarding a Class Vehicle: THE BRAKES ON MY 2015
   25 CHEVY SUBURBAN ARE LOCKING WHEN DRIVING A LOW SPEED. THE
   26 PROBLEM STARTED ALL OF THE SUDDEN WHILE DRIVING UNDER DRY
   27 ROAD CONDITIONS ON A CITY STREET. IF YOU PRESS ON THE BRAKE
   28 PEDAL , IT DOES NOT MOVE AND THE CAR DOES NOT STOPPED. I
                                            17                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 21 of 96 Page ID #:199




    1 ALMOST HIT A FAMILY OF 4 THAT WAS CROSSING IN FRONT OF ME.
    2 THE CAR HAS BEEN AT DICK BEARD CHEVROLET IN HYANNIS, MA
    3 AND THEY ARE SAYING THAT THERE IS NO ISSUE WITH THE BRAKES
    4 AND AVOIDING SOLVING THE PROBLEM. I'VE CALLED CHEVROLET 4
    5 TIMES AND THEY ARE NOT CALLING ME BACK. THE CAR IS NOT SAFE
    6 TO DRIVE AT ALL.
    7       56.   A consumer complaint dated 9/4/2017 and submitted to NHTSA states
    8 the following regarding a Class Vehicle: WHILE DRIVING ON THE ROAD IN
    9 TRAFFIC I WENT TO PRESS ON THE BRAKES AND NOTICED THEY HAD
   10 BECOME STIFF AND HAD TO PRESS THEM AS HARD AS POSSIBLE TO
   11 SLOWLY STOP WHILE TRYING TO AVOID HITTING ANOTHER VEHICLE
   12 IN TRAFFIC. NO WARNING LIGHTS WERE ON IN THE DASH UNTIL I
   13 PULLED OVER AND RESTARTED VEHICLE A COUPLE OF TIMES. THEN I
   14 GOT THE ACTIVE BRAKE ASSIST SERVICE LIGHT ON. I HAD THE
   15 VEHICLE TOWED TO THE NEAREST CHEVROLET SERVICE CENTER DUE
   16 TO THE VEHICLE NOT SAFE TO DRIVE.
   17       57.   A consumer complaint dated 9/10/2017 and submitted to NHTSA
   18 states the following regarding a Class Vehicle: WHEN APPLYING THE BRAKES
   19 MY CAR DOESN'T STOP 100% OF THE TIME. 1 TIME DURING HIGHWAY
   20 SLOW MOVING TRAFFIC, 3 TIMES BACKING OUT OF MY DRIVEWAY
   21 (FLAT SURFACE), 4 TIMES WHEN ON INCLINE/DECLINE OF ROAD.
   22 WHEN APPLYING BRAKES, HORRIBLE CHATTERING VIBRATION
   23 COMES FROM LEFT FRONT TIRE AREA, CHATTER VIBRATION IS FELT
   24 IN BRAKE PEDAL. NO MATTER HOW HARD I APPLY THE BRAKE THE
   25 CAR KEEPS GOING - IT WILL FINALLY STOP, BUT I ALMOST HIT THE
   26 CAR IN FRONT OF ME AT THE ONE HIGHWAY OCCURRENCE, 2 TIMES
   27 CAR FINALLY STOPPED JUST BEFORE GOING OVER EDGE OF
   28 PROPERTY WHEN PULLING FORWARD & BACKWARD TO TURN
                                            18                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 22 of 96 Page ID #:200




    1 AROUND IN TIGHT AREA. IN EACH INSTANCE I AM MOVING AT A VERY
    2 SLOW SPEED. I CONTACTED DEALERSHIP, THEY TOLD ME I WASN'T
    3 THE ONLY ONE CALLING ABOUT THIS HAPPENING BUT SINCE I'M
    4 OVER 36,000 WARRANTY THEY WILL CHARGE ME TO CK IT OUT,
    5       58.   A consumer complaint dated 9/22/2017 and submitted to NHTSA
    6 states the following regarding a Class Vehicle: AS I WAS SITTING IN THE
    7 VEHICLE IN PARK, I PLACED MY FOOT ON THE BRAKE AND NOTICED
    8 THAT THE BRAKE ASSIST HAD ACTIVATED WHILE IN PARK. I WAS
    9 UNABLE TO PUSH THE PETAL DOWN. I WAS ABLE TO MOVE THE
   10 SHIFTER INTO DRIVE WITH MY FOOT ON THE BRAKE, BUT THE
   11 VEHICLE IMMEDIATELY PLUNGED FORWARD. AS I CONTINUED TO
   12 TRY AND DEPRESS THE BRAKE PETAL, THE VEHICLE FINALLY
   13 SLOWED TO A STOP. BEFORE I COULD GET OFF THE ROAD AND OUT OF
   14 TRAFFIC, THE BRAKE ASSIST CONTINUED TO BE LOCKED UP AND
   15 THERE WAS NO BRAKES IF I SHIFTED INTO REVERSE. I WAS
   16 EXTREMELY CONCERNED FOR MINE AND MY CHILDREN'S SAFETY AS
   17 THIS COULD HAVE CAUSED A VERY SERIOUS ACCIDENT. THE BRAKES
   18 DID NOT STOP THE VEHICLE AND WERE DEFECTIVE DUE TO THE
   19 VACUUM PUMP "GOING OUT". THE VEHICLE IS ONLY 2 YEARS OLD
   20 AND HAS 49K MILES.
   21       59.   A consumer complaint dated 9/26/2017 and submitted to NHTSA
   22 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   23 2015 CHEVROLET SUBURBAN. WHILE EXITING THE PARKING LOT AT 5
   24 MPH, THE BRAKES FAILED TO WORK WITHOUT WARNING. THE
   25 CONTACT HAD TO CHANGE THE GEAR TO PARK IN ORDER TO STOP
   26 THE VEHICLE. THE VEHICLE WAS TOWED TO THE DEALER (BOB PRICE
   27 CHEVROLET BUICK GMC, 1225 S STATE HWY 16, FREDERICKSBURG, TX
   28 78624) WHERE IT WAS DIAGNOSED THAT THE BRAKE BOOSTER AND
                                            19                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 23 of 96 Page ID #:201




    1 THE BRAKE PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
    2 REPAIRED.     THE    MANUFACTURER          WAS   NOT    CONTACTED.       THE
    3 APPROXIMATE FAILURE MILEAGE WAS 51,800.
    4       60.   A consumer complaint dated 10/4/2017 and submitted to NHTSA
    5 states the following regarding a Class Vehicle: HARD BRAKE PEDAL,
    6 INCREASED EFFORT IS NEEDED TO DEPRESS BRAKE PEDAL. MOST
    7 COMMONLY AT SPEEDS <35 MPH. OFTEN VEHICLE DOES NOT WANT TO
    8 STOP. VEHICLE WAS IN MODERATE MORNING RUSH HOUR TRAFFIC.
    9 VEHICLE IN FRONT STOPPED QUICKLY FROM 40 MPH. TRIED PRESSING
   10 BRAKE PEDAL ON 2015 TAHOE TO STOP, PEDAL WAS EXTREMELY
   11 HARD AND VEHICLE WOULD NOT STOP.
   12       61.   A consumer complaint dated 10/9/2017 and submitted to NHTSA
   13 states the following regarding a Class Vehicle: MY 2015 SUBURBAN WITH
   14 APPROX 80K MILES, STARTED HAVING BRAKE PROBLEMS WHEN I
   15 WOULD DRIVE IN REVERSE. THE BRAKES HAD A GRINDING NOISE AND
   16 WAS GETTING HARD TO PRESS. THE BRAKE PADS WERE REPLACED
   17 AROUND 46K MILES AS I BOUGHT THE VEHICLE USED FROM
   18 ENTERPRISE SALES. THE BRAKES EVENTUALLY GOT WORSE AND HAD
   19 THE BRAKE ASSIST MESSAGE ON DASH COME UP. IF I HAD TO USE THE
   20 BRAKES TOO MANY TIMES AT INE TIME LIKE IF I HAD TO GO OVER
   21 SPEED BUMPS IN MY NEIGHBORHOOD, THEN THE BRAKES WOULD BE
   22 EXTREMELY HARD AND WOULD LOSE ALL POWER BRAKES. IF I KEPT
   23 THE VACUUM UP WITH A LITTLE RPM'S- ONE FOOT ON THE BRAKE
   24 AND ONE ON THE GAS, THEN I COULD GET THE POWER BRAKES TO
   25 WORK. NOW IT'S JUST TOTALLY GONE. NO POWER BRAKES AT ALL
   26 NOW AND ORDERED THE VACUUM BOOSTER AND WILL REPLACE IT
   27 MYSELF. I CALLED THE MAIN CHEVROLET HOTLINE AND THEY WERE
   28 TOTALLY WORTHLESS. I TOLD THEM ABOUT ALL THE NUMEROUS
                                            20                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 24 of 96 Page ID #:202




    1 COMPLAINTS POPPING UP ON THE INTERNET AND WITH SUBURBANS
    2 WITH MUCH LESS MILES THAN MINE AND TRIED TO SEE IF THEY HAD
    3 ANY RECALLS REGARDING THE BRAKES. THEY SAID NO. I SAID THEY
    4 SHOULD BE CONCERNED BEFORE IT ENDS UP KILLING SOMEONE.
    5       62.   A consumer complaint dated 10/26/2017 and submitted to NHTSA
    6 states the following regarding a Class Vehicle: WHILE DRIVING, THE DASH
    7 MESSAGE ALERTED ME THAT I NEEDED TO "SERVICE BRAKE ASSIST." I
    8 WAS NOT USING THE BRAKES, SO I STARTED TO SLOW DOWN AND
    9 THE BRAKES WORKED, BUT WHEN I CAME TO THE LIGHT, IT WAS LIKE
   10 PRESSING A ROCK AND THE PEDAL WOULD NOT PUSH DOWN. I HAD
   11 COMPLETE BRAKE FAILURE, BUT THANKFULLY HAD SLOWED
   12 ENOUGH BEFORE COMING TO THE LIGHT, THAT I COULD THROW THE
   13 CAR INTO PARK. I PULLED INTO A PARKING LOT AND TAPPED THE
   14 BRAKES SEVERAL TIMES, TURNED MY CAR OFF, TURNED IT BACK ON,
   15 PUT THE PARKING BRAKE ON AND OFF. THE BRAKES WORKED SO I
   16 BEGAN DRIVING VERY CAUTIOUSLY AND STUCK TO BACK ROADS
   17 AND STAYED UNDER 35 MPH. THE BRAKES FAILED TWICE MORE AT A
   18 STOP SIGN AND A RED LIGHT, WHILE I WAS DRIVING AT LOW SPEEDS.
   19 I DROVE THE CAR ONE MORE TIME A FEW HOURS LATER AND HAD
   20 COMPLETE BRAKE FAILURE EVERY TIME I TRIED TO STOP. I HAD TO
   21 EITHER THROW THE CAR INTO PARK, OR DRIVE INTO A PARKING LOT
   22 TO SLOW DOWN. I HAD IT TOWED TO A SERVICE CENTER AT THE
   23 CHEVY DEALERSHIP. THE VEHICLE IS UNDER 3 YEARS OLD, HAS
   24 ABOUT 60,000 MILES ON IT, HAS BEEN KEPT IN GREAT CONDITION, HAS
   25 ON TIME OIL CHANGES, NEVER BEEN IN AN ACCIDENT, AND HAS NEW
   26 TIRES. THE CAR HAD NO SQUEALING OR GRINDING TO SHOW WEAR
   27 AND TEAR, OR ANY OTHER INDICATOR THE BRAKES WOULD FAIL. THE
   28 DEALERSHIP MAINTAINS THAT THIS IS NOT COVERED BECAUSE WE
                                            21                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 25 of 96 Page ID #:203




    1 ARE OUT OF WARRANTY, HOWEVER, WE HAVE AN EXTENDED
    2 WARRANTY THAT WE ARE USING TO FIX THIS ISSUE. IT IS UNKOWN
    3 THE EXACT CAUSE, BECAUSE IT IS AT THE SHOP AWAITING
    4 DIAGNOSTICS.
    5       63.   A consumer complaint dated 10/31/2017 and submitted to NHTSA
    6 states the following regarding a Class Vehicle: WHILE REVERSING IN SLOW
    7 SPEEDS INTERMITTENTLY IN FORWARD MOTION, THE BRAKE PEDAL
    8 BECOMES VERY HARD AND WILL NOT STOP THE VEHICLE. THE BRAKE
    9 PEDAL HAS TO BE DEPRESSED VERY HARD AND THERE IS A
   10 VIBRATING MOTION. THE MASTER CYLINDER HAS ALREADY BEEN
   11 REPLACED BY THE DEALERSHIP AT AN EXPENSE OF NEARLY $600, BUT
   12 THE ISSUE PERSISTS.
   13       64.   A consumer complaint dated 11/2/2017 and submitted to NHTSA
   14 states the following regarding a Class Vehicle: I WAS DRIVING IN TRAFFIC
   15 GOING ABOUT 5MPH AND WHEN I APPLIED MY BRAKES THEY WERE
   16 NOT WORKING 100% I HAD TO PUSH THE PEDAL TO THE FLOOR AND
   17 THE TRUCK KEPT ROLLING. I HAD TO HAD TO FIGURE OUT A WAY TO
   18 SAFELY MOVE TO THE SHOULDER OF THE FREEWAY TO AVOID
   19 ACCIDENTS. I WAITED ON THE SHOULDER OF THE FREEWAY FOR
   20 ABOUT A HOUR FOR TRAFFIC TO STOP. I WAS FINALLY ABLE TO GET
   21 OFF THE FREEWAY SO I COULD CHECK THE BRAKE FLUID IT WAS
   22 FULL. I KNEW THERE WASN'T A PROBLEM WITH THE BRAKES
   23 BECAUSE THEY HAD JUST BEEN REPLACED THE PRIOR MONTH. I
   24 KNEW THE VEHILCE WAS NOT SAFE TO DRIVE HOME SO I LEFT THE
   25 TRUCK AT DAVIS CHEVROLET AT THEIR NIGHT DROP. I TALKED TO A
   26 SERVICE TECHNICIAN AND HE INFORMED ME THAT HE HAS SEEN THIS
   27 ISSUE A LOT WITH 2015 TAHOE'S, AND INFACT 3 2015 TAHOE'S WERE
   28 BROUGHT IN THE SAME DAY NOVEMBER 3,2017. BEFORE LOOKING AT
                                            22                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 26 of 96 Page ID #:204




    1 MY VEHICLE THE TECHNICIAN TOLD ME IT WAS THE VACUME PUMP
    2 BUT HE WOULD CALL ME BACK TO LET ME KNOW FOR CERTAIN.
    3 ONCE THEY LOOKED AT MY TRUCK HE SAID IT WAS THE VACUUM
    4 PUMP THAT NEEDED TO BE REPLACED AND IT WAS NOT UNDER
    5 WARRANTY. I DON'T UNDERSTAND HOW GM KNOWS ABOUT THIS
    6 ISSUE AND STILL DOES NOT RECALL IT, THIS CAN CAUSE MAJOR
    7 ACCIDENTS AND POTENTIALLY CAUSE A LIFE. IT'S OBVIOUS THERE IS
    8 A ISSUE WITH TJE VACUUME PUMPS IN TJE 2015 TAHOE'S AND GM
    9 NEEDS TO TAKE RESPONSIBILITY AND DO A RECALL BEFORE
   10 SOMEONE DIES BECAUSE THEIR BRAKES FAIL DUE TO A VACUUM
   11 PUMP NOT WORKING
   12       65.   A consumer complaint dated 11/4/2017 and submitted to NHTSA
   13 states the following regarding a Class Vehicle: UPON DRIVING IN LOW SPEED,
   14 DRY CONDITIONS, BUMPER TO BUMPER TRAFFIC (LESS THAN 10MPH),
   15 MY 2015 CHEVROLET TAHOE LTZ'S BRAKES BECAME UNRESPONSIVE.
   16 AT THAT POINT, I PUT ALL MY WEIGHT ON THE BRAKES AND THE CAR
   17 CAME TO AN UNCALCULATED STOP. THIS PROBLEM PERSISTED AND
   18 DID NOT REMEDY ITSELF. THE DEALERSHIP NOTIFIED ME THAT THERE
   19 WAS A FAULTY BRAKE VACUUM PUMP, AND BRAKE BOOSTER, AND
   20 THAT IT FAILED BECAUSE OF MOISTURE PENETRATION. FURTHER,
   21 GENERAL MOTORS HAS ISSUED TECHNICAL BULLETIN PIT 5361A/B/C
   22 TO ADDRESS THIS KNOWN ISSUE. MY TAHOE HAS 59,000 MILES ON IT.
   23 AFTER FURTHER RESEARCH, THIS IS A KNOWN ISSUE BY GM AT THE
   24 TIME OF MY VEHICLE PURCHASE IN DECEMBER 2014 AND FURTHER,
   25 HAS BEEN ACKNOWLEDGED THROUGH TECHNICAL BULLETINS TO
   26 THE GM DEALERS. FURTHER, THERE ARE DOCUMENTED CASES
   27 WHERE INJURIES/WRECKS HAVE OCCURRED DUE TO THIS SPECIFIC
   28 ISSUE. THE GENERAL MOTORS COMPANY HAS BEEN NEGLIGENT IN ITS
                                            23                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 27 of 96 Page ID #:205




    1 HANDLING OF THIS IMPORTANT SAFETY (NOT COSMETIC) ISSUE.
    2       66.   A consumer complaint dated 11/11/2017 and submitted to NHTSA
    3 states the following regarding a Class Vehicle: WHILE DRIVING AT SLOW
    4 SPEED IN SCHOOL PARKING LOT BRAKE PEDAL FAILED TO STOP
    5 VEHICLE WHEN USING NORMAL BRAKE PRESSURE. PEDESTRIAN IN
    6 FRONT OF VEHICLE JUMPED OUT OF THE WAY TO AVOID BEING
    7 STRUCK.
    8       67.   A consumer complaint dated 11/16/2017 and submitted to NHTSA
    9 states the following regarding a Class Vehicle: PROBLEM STARTED AS
   10 BRAKES EXTREMELY DIFFICULT TO ACTIVATE WHEN TRAVELING IN
   11 REVERSE AT LOW SPEED (I AM APPROX 200 LBS AND HAD TO STAND
   12 ON BRAKES WITH EFFORT TO GET VEHICLE TO STOP). PROBLEM ALSO
   13 APPEARED IN LOW SPEED STOP AND GO OPERATION AS WELL AS
   14 WHEN BACKING AT A MODERATE SPEED OF APPROXIMATELY 10
   15 MILES PER HOUR. WE HAVE HAD AT LEAST ONE OTHER VEHICLE IN
   16 OUR FLEET EXPERIENCE THIS ISSUE. IT WAS DETERMINED TO BE A
   17 FAILED VACUUM PUMP ON THAT VEHICLE. THIS VEHICLE WAS TAKEN
   18 TO DEALER AND THEY WERE UNABLE TO REPLICATE ISSUE. I
   19 UNDERSTAND THERE IS A GM TECHNICAL BULLETIN INVOLVING THIS
   20 ISSUE BUT NO OIL WAS FOUND IN VACUUM LINES. THE VEHICLE IS
   21 OUTSIDE OF WARRANTY SO THERE IS CHARGES EACH TIME WE BRING
   22 VEHICLE BACK. I WAS TOLD TO BRING VEHICLE BACK IF PROBLEM
   23 BECOMES WORSE. I FEEL A FAILURE OF BRAKES IS AN EXTEREME
   24 SAFETY CONCERN IN NORMAL OPERATION AND ESPECIALLY IN HIGH
   25 SPEED EMERGENCY OPERATION OF THE VEHICLE. A SEARCH OF THE
   26 NHTSA SITE AS WELL AS INTERNET HAS REVELED NUMEROUS
   27 COMPLAINTS REGARDING THIS EXACT ISSUE. IT APPEARS THE
   28 COMMON REPLACEMENT IS THE BRAKE ASSIST AND VACUUM PUMP.
                                            24                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 28 of 96 Page ID #:206




    1       68.   A consumer complaint dated 11/19/2017 and submitted to NHTSA
    2 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
    3 2015 CHEVROLET TAHOE. WHILE DRIVING APPROXIMATELY 25 MPH,
    4 THE STEERING WHEEL INADVERTENTLY PULLED TO THE RIGHT.
    5 WHILE ATTEMPTING TO DEPRESS THE BRAKE PEDAL, THE BRAKES
    6 FAILED TO STOP THE VEHICLE. AS A RESULT, THE CONTACT LOST
    7 CONTROL OF THE VEHICLE AND CRASHED INTO A PARKED VEHICLE.
    8 WHILE THE GEAR SHIFTER WAS IN REVERSE OR DRIVE, THE VEHICLE
    9 FAILED TO OPERATE. THE AIR BAGS DID NOT DEPLOY. THE TIRE
   10 PRESSURE AND EPS ASSIST WARNING INDICATORS ILLUMINATED. THE
   11 CONTACT SUSTAINED AN INJURY TO THE LOWER BACK, BUT NO
   12 MEDICAL ATTENTION WAS REQUIRED. A POLICE REPORT WAS NOT
   13 FILED. THE VEHICLE WAS TOWED TO NISSANI BROS. CHEVROLET (6101
   14 W SLAUSON AVE, CULVER CITY, CA 90230 (424) 216-7400), BUT IT HAD
   15 NOT BEEN DIAGNOSED. THE VEHICLE WAS NOT REPAIRED. THE
   16 CONTACT REFERENCED NHTSA CAMPAIGN NUMBER: 16V256000
   17 (SUSPENSION). THE MANUFACTURER WAS NOTIFIED OF THE FAILURE
   18 AND THE CONTACT WAS PROVIDED CASE NUMBER: 8-3571350184. THE
   19 CONTACT WAS ADVISED TO CALL NHTSA. THE APPROXIMATE
   20 FAILURE MILEAGE WAS 25,400.
   21       69.   A consumer complaint dated 12/8/2017 and submitted to NHTSA
   22 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
   23 2015 GMC YUKON. WHILE AT A DRIVE THRU WITH THE BRAKE PEDAL
   24 DEPRESSED TO THE FLOORBOARD, THE BRAKES FAILED. THE
   25 CONTACT HAD TO APPLY EXCESSIVE FORCE IN ORDER FOR THE
   26 VEHICLE     TO    STOP.   THERE     WERE    NO    WARNING      INDICATORS
   27 ILLUMINATED. THE VEHICLE WAS TAKEN TO STARLING CHEVROLET
   28 BUICK GMC (1001 E IRLO BRONSON MEMORIAL HWY, ST CLOUD, FL
                                            25                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 29 of 96 Page ID #:207




    1 34769, PHONE: (407) 892-5144), BUT THE CAUSE OF THE FAILURE COULD
    2 NOT BE DETERMINED. THE VEHICLE WAS NOT REPAIRED. THE
    3 MANUFACTURER WAS NOTIFIED AND STATED THAT THE FAILURE
    4 HAD TO BE DUPLICATED. THE APPROXIMATE FAILURE MILEAGE WAS
    5 42,000. THE VIN WAS NOT AVAILABLE.
    6       70.   A consumer complaint dated 12/12/2017 and submitted to NHTSA
    7 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
    8 2015 CHEVROLET SUBURBAN. WHILE DRIVING APPROXIMATELY 40
    9 MPH, THE CONTACT ATTEMPTED TO APPLY THE BRAKES AND THE
   10 BRAKE PEDAL WOULD NOT DEPRESS. THE CONTACT HAD TO APPLY
   11 THE EMERGENCY BRAKE TO GET THE VEHICLE TO STOP. THE VEHICLE
   12 WAS NOT TAKEN TO THE DEALER. THE VEHICLE WAS DRIVEN TO AN
   13 INDEPENDENT MECHANIC WHERE IT WAS DIAGNOSED THAT THE
   14 MASTER BRAKE CYLINDER AND BRAKE BOOSTER FAILED. THE
   15 MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE VIN WAS
   16 UNKNOWN. THE FAILURE MILEAGE WAS 100,000.
   17       71.   A consumer complaint dated 12/16/2017 and submitted to NHTSA
   18 states the following regarding a Class Vehicle: BRAKES BECAME EXTREMELY
   19 STIFF, AND POWER ASSIST WAS LOST. VEHICLE IS VERY HARD TO
   20 STOP, NEARLY CAUSING AN ACCIDENT SEVERAL TIMES. TOOK
   21 VEHICLE TO A SERVICE SHOP, AND FOUND OUT THAT THE VACUUM
   22 PUMP WAS DEFECTIVE AND CAUSED OIL TO ENTER MY BRAKE
   23 VACUUM AND BRAKE LINES. HAD TO ALL BE REPLACED.
   24       72.   A consumer complaint dated 12/23/2017 and submitted to NHTSA
   25 states the following regarding a Class Vehicle: WHILE TRAVELING STRAIGHT
   26 AT 70 MPH ON THE HIGHWAY IN MY 2015 CHEVY SUBURBAN (62K
   27 MILES) THE VEHICLE EXPERIENCED A SUDDEN AND UNDETECTED
   28 COMPLETE BRAKE SYSTEM FAILURE. AS I APPROACHED SLOWING
                                            26                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 30 of 96 Page ID #:208




    1 TRAFFIC WITH THE CRUISE CONTROL ON, I TAPPED THE BRAKES TO
    2 DISENGAGE THE CRUISE CONTROL, ONLY TO FIND THAT THE BRAKE
    3 PEDAL WAS RIGID AND COULD NOT BE DEPRESSED. TO AVOID A
    4 COLLISION AT A HIGH RATE OF SPEED I SWERVED ONTO THE RIGHT
    5 SHOULDER WHILE USING TWO LEGS TO AGGRESSIVELY PUSH THE
    6 BRAKE PEDAL DOWN - ALL THE WHILE FEELING VERY LITTLE
    7 BRAKING ACTION. THE CAR CAME TO A STOP AFTER ABOUT 75
    8 METERS. AT NO TIME BEFORE OR DURING THE EVENT DID THE CAR
    9 SIGNAL A BRAKING SYSTEM PROBLEM. IN FACT IT STILL SHOWED NO
   10 SYSTEM INDICATOR OF A BRAKE PROBLEM 3 DAYS LATER WHEN IT
   11 WAS DELIVERED TO THE DEALER FOR DIAGNOSIS. THE CAR HAS BEEN
   12 WELL MAINTAINED, HAVING JUST UNDERGONE A 60K MILE SERVICE
   13 AT THE DEALERSHIP. THE LACK OF THE VEHICLE'S RECOGNITION
   14 THAT A CRITICAL FAILURE IN THE BRAKING SYSTEM HAD OCCURRED
   15 POSED A SERIOUS AND IMMEDIATE THREAT TO PASSENGERS AND
   16 SURROUNDING TRAFFIC. AS A PHYSICIAN I CAN ATTEST THAT A
   17 COLLISION AT THAT SPEED WOULD HAVE SEVERELY INJURED OR
   18 EVEN KILLED THOSE INVOLVED. THIS PROBLEM WITH THE 2015
   19 CHEVY SUB HAS REPORTED TO NHTSA BEFORE - THIS IS NOT AN
   20 ISOLATED EVENT. THE SERVICE CENTER REPORTED TO ME THAT A
   21 VACUUM PUMP FAILURE WAS TO BLAME - I BELIEVE THIS IS A MORE
   22 COMPLEX ENGINEERING PROBLEM IN THAT THE VEHICLE DID NOT
   23 DETECT A PROBLEM DESPITE THE FAILURE CREATING A LIFE
   24 THREATENING SCENARIO. ALTHOUGH I PLAN TO IMMEDIATELY
   25 DISPOSE OF THIS CAR, FAILURE TO ADDRESS THIS PROBLEM BY THE
   26 MANUFACTURER WILL PUT OTHERS AT RISK IN THE FUTURE. GM
   27 APPEARS TO HAVE ISSUED A SERVICE BULLETIN THAT REFERS TO
   28 THIS PROBLEM (ATTACHED). I SINCERELY BELIEVE THIS DEFECT WILL
                                            27                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 31 of 96 Page ID #:209




    1 RESULT IN LIVES LOST IF LEFT UNADDRESSED. INFORMATION
    2 REDACTED PURSUANT TO THE FREEDOM OF INFORMATION ACT
    3 (FOIA), 5 U.S.C. 552(B)(6).
    4       73.   A consumer complaint dated 12/28/2017 and submitted to NHTSA
    5 states the following regarding a Class Vehicle: I'M HAVING BRAKE BOOSTER
    6 FAILURE AT SLOW SPEEDS, THE BRAKE PETAL IS SUPER HARD TO
    7 PUSH DOWN AND IT ALMOST ISN'T ENOUGH TO MAKE THE TRUCK
    8 STOP ROLLING AT SLOW SPEEDS. TRUCK HAS RIGHT AT 43,XXX MILES
    9 ON IT AND IS NOT UNDER WARRANTY.
   10       74.   A consumer complaint dated 1/5/2018 and submitted to NHTSA states
   11 the following regarding a Class Vehicle: AS WE WERE DRIVING FROM
   12 ATLANTA TO MIAMI, WHEN WE WERE GETTING OFF THE HIGHWAY
   13 THE BRAKES ON OUR 2015 CHEVROLET SUBURBAN FAILED TO STOP
   14 AT 60 MILES PER HOUR, WE ALMOST REARED-ENDED AN EIGHTEEN-
   15 WHEELER; WITH OUR FAMILY OF FIVE AND OUR TWO DOGS ON
   16 BOARD! ALL FLUIDS HAD BEEN CHECKED ON THE CAR AND THE
   17 BRAKE PADS WERE RECENTLY CHANGED. WE JUST CALLED AND
   18 NOTIFIED CHEVROLET ABOUT THIS SAFETY ISSUE. WE ASKED IF
   19 THERE WERE ANY ISSUES AND/OR RECALLS ON OUR VEHICLE AND
   20 THE AGENT SAID THAT THERE WERE NO ISSUES OR RECALLS
   21 REGARDING THIS TYPE OF VEHICLE. WE MADE AN APPOINTMENT TO
   22 HAVE OUR CAR DIAGNOSED AS SOON AS POSSIBLE. AFTER
   23 RESEARCHING ONLINE WE FOUND NUMEROUS POSTS ON SEVERAL
   24 SITES FROM OTHER SUBURBAN OWNERS REPORTING THE SAME ISSUE
   25 WITH THEIR BRAKING SYSTEM NOT RESPONDING. WHAT WILL IT
   26 TAKE FOR CHEVROLET TO ACKNOWLEDGE THIS BRAKE FAILURE
   27 SYSTEM ISSUE?!?! SOMEONE TO GET KILLED?!?! PLEASE LOOK INTO
   28 THIS BRAKE FAILURE ISSUE AND ADDRESS IT PROMPTLY!!!
                                            28                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 32 of 96 Page ID #:210




    1       75.   A consumer complaint dated 1/12/2018 and submitted to NHTSA
    2 states the following regarding a Class Vehicle: TL* THE CONTACT OWNS A
    3 2015 GMC YUKON. WHILE DRIVING APPROXIMATELY 5 MPH, THE
    4 BRAKE PEDAL STIFFENED AND THE VEHICLE DID NOT STOP WHEN
    5 THE PEDAL WAS DEPRESSED. THERE WERE NO WARNING INDICATORS
    6 ILLUMINATED. THE CONTACT USED THE EMERGENCY BRAKE TO STOP
    7 THE VEHICLE. THE VEHICLE WAS TAKEN TO KEYES WOODLAND HILLS
    8 BUICK GMC (6133 TOPANGA CANYON BLVD, WOODLAND HILLS, CA
    9 91367) WHERE IT WAS DIAGNOSED THAT THE VACUUM PUMP FAILED
   10 AND DAMAGED THE ENTIRE BRAKING SYSTEM. THE TECHNICIAN
   11 REPLACED THE VACUUM PUMP AND THE ENTIRE BRAKING SYSTEM.
   12 THE MANUFACTURER WAS MADE AWARE OF THE FAILURE AND
   13 STATED THAT THERE WAS NO RECALL. THE FAILURE MILEAGE WAS
   14 40,500.
   15       76.   A consumer complaint dated 2/2/2018 and submitted to NHTSA states
   16 the following regarding a Class Vehicle: ISSUE REGARDING BRAKING
   17 SYSTEM AND INTERNAL FAILURE. COST TO REPAIR IS $1500 ON A 3
   18 YEAR OLD CAR. GM HAS BEEN AWARE OF THIS ISSUE SINCE 2015.
   19 THEY ARE ALSO DEFENDANTS IN A CLASS ACTION LAWSUIT
   20 REGARDING THE BRAKES AND THE CATASTROPHIC FAILURE THAT
   21 WILL EVENTUALLY RESULT IN DEATH.
   22       77.   A consumer complaint dated 2/6/2018 and submitted to NHTSA states
   23 the following regarding a Class Vehicle: MY 2015 CHEVROLET TAHOE LT
   24 WOULD NOT STOP APPROACHING A MAJOR INTERSECTION. BRAKE
   25 PEDAL BECAME HARD AND WOULD NOT COME TO A COMPLETE STOP
   26 AT A MAJOR CITY INTERSECTION, NEARLY CAUSING AN ACCIDENT. I
   27 WAS TOLD BY THE DEALERSHIP THAT THE VACUUM PUMP WILL NEED
   28 TO BE REPLACED AT MY EXPENSE AND IT IS A COMMON OCCURRENCE
                                            29                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 33 of 96 Page ID #:211




    1 ON THIS YEAR AND MODEL . NOT ONLY IS THIS A SAFETY ISSUE, ITS A
    2 COMMON PROBLEM AND A TECHNICAL BULLETIN HAS BEEN
    3 RELEASED FOR THE REPAIR. THIS VEHICLE IS OUT OF THE BUMPER TO
    4 BUMPER WARRANTY BUT IS STILL HOWEVER UNDER THE 1000,000
    5 DRIVE TRAIN WARRANTY. GM NEEDS TO ADDRESS THIS PROBLEM
    6 BEFORE SOMEONE GETS INJURED.
    7       78.   A consumer complaint dated 3/5/2018 and submitted to NHTSA states
    8 the following regarding a Class Vehicle: PLACING CAR IN REVERSE OR
    9 DRIVE AT SLOW SPEEDS AND PRESSING BRAKES ALL THE WAY TO
   10 THE FLOOR WITH THE VEHICLE NOT STOPPING. BRAKE SYSTEM
   11 WARNING LIGHT WOULD COME ON. ISSUE COMES AND GOES WHEN IT
   12 PLEASES. TAKING THE SUBURBAN TO DEALERSHIP TODAY. STARTED
   13 HAPPENING AROUND 59000 MILES
   14       79.   A consumer complaint dated 3/10/2018 and submitted to NHTSA
   15 states the following regarding a Class Vehicle: BRAKES GOT HARD WHEN
   16 DRIVING ONTO EXPRESSWAY TAHOE HAS ONLY 42000 MILES AND
   17 HEARD THERES BEEN ALOT OF ISSUES WITH THE VACUUM PUMP
   18 WHAT I HAVE READ.THERE NEEDS TO BE A RECALL
   19       80.   A consumer complaint dated 3/13/2018 and submitted to NHTSA
   20 states the following regarding a Class Vehicle: I BEEN HAVING MY TRUCK
   21 FOR 2 YEARS AND BRAKES KEEP GOING OUT AND THE AIR CONDITION
   22 KEEPS GOING OUT. I HAVE TWO FRIENDS THE SAME VEHICLE WITH
   23 THE SAME PROBLEMS. THIS IS RIDICULOUS I SEE NO RECALLS ON
   24 THAT. AND I'VE SEEN ON THE REVIEWS OF THIS VEHICLE AND ITS NOT
   25 JUST ME THERE'S PEOPLE OUT THERE WITH THE SAME PROBLEM THAT
   26 I AM HAVING. THIS COULD CAUSE A REALLY BAD ACCIDENT THE
   27 BRAKES KEEP GOING OUT I AM NOT THE ONLY ONE WITH THIS
   28 PROBLEM. PLEASE TAKE IN CONSIDERATION THAT EVERYONE HAS
                                            30                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 34 of 96 Page ID #:212




    1 FAMILIES. AND ACCIDENTS COULD CAUSE US TO LOSE OUR FAMILY
    2 JUST FOR A SIMPLE BRAKES THAT HAVE NOT BEEN RECALLED. AND
    3 ALSO, WE JUST CANNOT KEEP AFFORDING TO FIX THE AIR
    4 CONDITIONING THIS TRUCK IS NOT EVEN OLD ENOUGH TO BE GIVING
    5 US THESE PROBLEM. THANK YOU
    6       81.   A consumer complaint dated 3/23/2018 and submitted to NHTSA
    7 states the following regarding a Class Vehicle: IN OCTOBER 2017 WE
    8 EXPERIENCED BRIEF PERIODS WHERE BRAKE PEDAL BECAME RIGID
    9 AND IMPOSSIBLE TO DEPRESS. THE VEHICLE WAS TAKEN TO OUR
   10 LOCAL CHEVROLET DEALER. WE DESCRIBED IN DETAIL THE RIGID
   11 BRAKE PEDAL. THE DEALER WANTED TO DO PUT NEW BRAKE PADS
   12 AND TURN THE ROTORS. I THOUGHT IT WAS STRANGE THAT A
   13 VEHICLE WITH JUST OVER 40 THOUSAND MILES WOULD NEED NEW
   14 BRAKES, BUT WE HAD THE WORK DONE. THE DEALER ALSO WANTED
   15 TO REPLACE THE VACUUM HOSE WHICH POWERS THE BRAKE
   16 SYSTEM. THIS WORK WAS ALSO DONE. NEXT, ON FRIDAY MARCH 23,
   17 2018 WE WERE TRAVELING ON AN INTERSTATE AT A HIGH SPEED
   18 WHEN THE BRAKE PEDAL BECAME IMPOSSIBLE TO DEPRESS. WE
   19 WERE VERY FORTUNATE NOT TO CAUSE A SERIOUS ACCIDENT. I HAD
   20 TO HAVE IT TOWED TO A DEALER AND RENT A CAR. THE FOLLOWING
   21 WEEK WE WERE CONTACTED BY THE DEALER DOING THE REPAIRS.
   22 OUR SUBURBAN HAD A VACUUM PUMP FAILURE. THIS CAUSED TOTAL
   23 BRAKE FAILURE. AFTER SOME RESEARCH I DISCOVERED THAT THIS
   24 VEHICLE'S ENGINE DOES NOT PRODUCE ENOUGH VACUUM TO POWER
   25 THE BRAKES (UNLIKE EVERY OTHER VEHICLE ON THE ROAD). IN ANY
   26 OTHER CAR THE ONLY WAY YOU LOSE SUCTION FOR YOUR BRAKES IS
   27 IF THE ENGINE STOPS. IN OUR SUBURBAN THE ENGINE CAN BE
   28 RUNNING FINE AND YOU MAY OR MAY NOT HAVE BRAKES. THE
                                            31                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 35 of 96 Page ID #:213




    1 WARNING SYSTEM IS TOTALLY USELESS AS IT ISN'T TRIGGERED
    2 UNTIL YOU EXPERIENCE TOTAL BRAKE FAILURE WITHOUT ANY
    3 WARNING. WHILE THE VEHICLE WAS IN THE SERVICE DEPARTMENT
    4 HAVING VACUUM PUMP REPLACED THE DEALER ALSO EXPLAINED
    5 THAT ALL FOUR MAGNETIC RIDE SHOCKS/STRUTS WERE LOCKED IN
    6 PLACE AND NOT FUNCTIONING AT ALL. THIS IS ANOTHER SERIOUS
    7 SAFETY ISSUE. I HAVE NEVER HEARD OF SHOCKS "LOCKING UP" .
    8 AFTER SOME MORE RESEARCH, I FOUND THIS IS A HUGE PROBLEM
    9 FOR GM VEHICLES. A PROBLEM THAT GM HAS FAILED TO ADDRESS. I
   10 HAVE ALSO HAD 3 MAJOR REPAIRS ON AC. INCLUDING NE AC LINES
   11 AND NEW COMPRESSOR.
   12       82.   A consumer complaint dated 4/11/2018 and submitted to NHTSA
   13 states the following regarding a Class Vehicle: MY VEHICLE HAS EXHIBITED A
   14 KNOCKING NOISE ON THE LEFT DRIVER SIDE TIRE, PROBLEMS WITH
   15 VIBRATION AT HIGH SPEEDS, ENGINE LIGHT COMING ON IF DRIVING
   16 HIGHWAY SPEEDS, BRAKE ISSUES, BRAKES BECOME STIFF AND WILL
   17 NOT STOP VEHICLE WHATSOEVER! AT BOTH THIS HAPPENED TWICE
   18 WHILE MY CAR WAS IN MOTION NEARLY KILLING ME AND MY KIDS!!!
   19 AIR CONDITIONING ISSUES AS WELL. BLOWS HOT AIR UNTIL YOU
   20 PLAY WITH BOTTOMS.
   21       83.   A consumer complaint dated 5/13/2018 and submitted to NHTSA
   22 states the following regarding a Class Vehicle: WHEN DRIVING IN LOW
   23 SPEEDS - SUCH AS PARKING OR STOP/GO TRAFFIC MY BRAKES FAIL TO
   24 WORK. I TRY TO PUSH PEDAL DOWN AS HARD AS I CAN BUT BARELY
   25 SEEMS TO STOP. I HAVE HAD TO PUSH MY EMERGENCY BRAKE PEDAL
   26 MORE THAN ONCE TO STOP AN ACCIDENT FROM HAPPENING I ALSO
   27 HAVE A SMALL CHILD THAT I FEAR WILL BE HURT IF THE PROBLEM IS
   28 NOT FIXED. I HAVE TAKEN IT TO DEALERSHIP AND THEY SAY THEY
                                            32                         FIRST AMENDED
                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 36 of 96 Page ID #:214




    1 CAN'T REPLICATE THE ISSUE THERE FORE CAN NOT FIX.
    2   V.    CLASS ALLEGATIONS
    3        84.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), Plaintiffs will seek
    4 certification of a Class consisting of:
    5        All consumers who purchased or leased in California a 2015 or newer
             Cadillac Escalade, 2014 or newer Chevrolet Silverado, 2015 or newer
    6
             Chevrolet Suburban, 2015 or newer Chevrolet Tahoe, 2014 or newer
    7        GMC Sierra, or 2015 or newer GMC Yukon/Yukon XL.
    8        85.    This action has been brought and may be properly maintained and
    9 certified as a Class Action because:
   10               (a) The questions and issues of law or fact are of a common or
             general interest, affecting the Class of individuals and the public at
   11        large;
   12
                     (b) The Class consists of a sufficiently large group of
   13        individuals, believed to exceed thousands of members, and is so large
   14        that it is impractical to join all members of the Class before the Court
             as individual plaintiffs. The identity of Class members is readily
   15        ascertainable from various sources including GM’s ownership records,
   16        GM’s repair records, government ownership records, and/or via simple
             notice by publication;
   17
                   (c) The questions of law or fact common to the Class are
   18
             substantially similar and predominate over those questions affecting
   19        only specific members of the Class;
   20              (d) The Class is united by a community of interests in
   21        obtaining appropriate equitable relief including injunctive relief, recall
             of Class Vehicles, restitution, damages, and other available relief
   22        designed to redress the wrongful conduct of Defendant GM;
   23
                   (e) Plaintiffs are members of the Class and their claims are
   24        typical of the Class;
   25              (f)    Plaintiffs will fairly and adequately represent the claims of
   26        the Class, and protect the interests of each member of the Class without
             exercising personal interest or otherwise acting in a manner
   27        inconsistent with the best interests of the Class generally;
   28
                                                 33                           FIRST AMENDED
                                                                     CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 37 of 96 Page ID #:215




    1                (g) Plaintiffs retained attorneys experienced in the litigation of
             class and representative claims and in the area of consumer protection
    2
             litigation who have agreed to and will responsibly and vigorously
    3        advocate on behalf of the Class as a whole;
    4               (h) Without class certification, the prosecution of separate
    5        consumer actions by individual members of the Class would be
             impracticable and financially difficult, and create a risk of repetitive,
    6        inconsistent and varying adjudications. This would have the effect of
    7        establishing incompatible standards of conduct for GM, discouraging
             the prosecution of meritorious but small claims, and/or result in
    8        adjudications which would be dispositive of the interests of other Class
    9        Members not parties to the adjudication, or otherwise substantially
             impair the ability of Class Members to protect their rights and interests;
   10
   11              (i)     Defendant GM acted or refused to act on grounds
             generally applicable to the Class, thereby making the award of
   12        equitable relief and/or restitution appropriate to the Class as a whole;
   13               (j)   The class action procedure is superior to other methods of
   14        adjudication, and specifically designed to result in the fair, uniform and
             efficient adjudication of the claims presented by this complaint. This
   15        class action will facilitate judicial economy and preclude the undue
   16        financial, administrative and procedural burdens which would
             necessarily result from a multiplicity of individual actions.
   17
   18        86.    Because the damages suffered by each Class Member is relatively
   19 small compared to the expense and burden of prosecuting this compelling case
   20 against a well-financed, multibillion dollar corporation, this class action is the only
   21 way each Class Member can redress the harm that Defendant GM caused.
   22        87.    Should individual Class Members be required to bring separate actions,
   23 California’s courts would face a multitude of lawsuits that would burden the court
   24 system and create a risk of inconsistent rulings and contradictory judgments. In
   25 contrast to proceeding on a case-by-case basis, in which inconsistent results will
   26 magnify the delay and expense to all parties and the court system, this class action
   27 presents far fewer management difficulties while providing unitary adjudication,
   28 economies of scale, and comprehensive supervision by a single court.
                                                 34                           FIRST AMENDED
                                                                     CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 38 of 96 Page ID #:216




    1         88.     The nature of notice to the proposed Class is contemplated to be by
    2 direct mail or, if such notice is not practicable, by the best notice practicable under
    3 the circumstance including email, publication in major newspapers and/or on the
    4 Internet.
    5   VI.   TOLLING AND ESTOPPEL
    6         89.     Any applicable statutes of limitations that might otherwise bar any of
    7 Plaintiffs’ claims and those of the Class are tolled by Defendant’s knowing and
    8 active concealment of the defect in the Class Vehicles, and the safety risks resulting
    9 therefrom.
   10         90.     Defendant, as the manufacturer of the Class Vehicles and therefore in a
   11 superior position to know of the material issues, was under a continuous duty to
   12 disclose to Plaintiffs and members of the Class the true standard and quality of the
   13 Class Vehicles and to disclose the defect and the associated safety hazards.
   14 Defendant kept Plaintiffs in the dark as to necessary information essential to the
   15 pursuit of their claims. Because of Defendant’s cover-up, Plaintiffs and Class
   16 Members could not have reasonably discovered the defect in their Class Vehicle.
   17 Defendant is therefore estopped from relying on any statutes of limitations in
   18 defense of this action.
   19                              FIRST CAUSE OF ACTION
   20                    (Violation of the Consumers Legal Remedies Act)
   21         91.     Plaintiffs adopt and incorporate all preceding paragraphs as if stated
   22 fully herein.
   23         92.     California Civil Code Sections 1750, et seq., (“Consumers Legal
   24 Remedies Act” or “CLRA”) precludes Defendant from representing that goods have
   25 uses, characteristics and benefits, standards, qualities or grades that they do not
   26 have. Through omission and concealment, Defendant has misrepresented that Class
   27 Vehicles: (a) have characteristics, uses or benefits that they do not have (Section
   28 1770(a)(5)); and, (b) are of a particular standard, quality, or grade when they are of
                                                  35                           FIRST AMENDED
                                                                      CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 39 of 96 Page ID #:217




    1 another (Section 1770(a)(7)). Plaintiffs incorporate herein paragraphs 1-6 and 13-82
    2 as particularized evidence of the pattern of misrepresentation by omission
    3 perpetrated by Defendant against Plaintiffs and the Class.
    4        93.    Defendant has designed, manufactured, marketed, sold, and placed into
    5 the stream of commerce the Class Vehicles sold across California. Defendant has
    6 failed to disclose and concealed the serious safety hazard posed by the design of
    7 Class Vehicles’ braking system, which as a result of known design defects causes
    8 the Class Vehicles to lose brake boost without warning, severely and suddenly
    9 compromising both pedal feedback (controllability) and actual stopping distances.
   10        94.    Defendant had a duty to disclose this material safety hazard because
   11 reasonable consumers expect braking systems to perform their only intended and
   12 reasonably expected function and purpose of slowing their vehicles with consistent
   13 brake pedal feedback and consistently safe stopping distances. In failing to
   14 adequately disclose this critical safety hazard, known to Defendant but not to
   15 reasonable consumers like Plaintiffs and Class Members, Defendant has violated the
   16 CLRA, including Civil Code §1770(a)(5) and (7).
   17        95.    None of the information provided by Defendant to consumers discloses
   18 the hazard.
   19        96.    Were it not for Defendant’s wrongful conduct in violation of the
   20 CLRA, reasonable consumers including Plaintiffs and the Class would not have
   21 purchased Class Vehicles. Instead, they would have purchased safe and reliable
   22 vehicles with braking systems that are fit and safe for their only intended purpose.
   23        97.    The members of the Class have suffered injury in fact and lost money
   24 as a direct result of Defendant’s wrongful conduct. Each has expended money to
   25 purchase a Class Vehicle, and would not have done so had they been aware of the
   26 material safety omission alleged in this Complaint. Each will need to expend money
   27 to repair or replace their Class Vehicle with safe braking systems adequately
   28 designed to perform their only intended and expected function of consistently and
                                                 36                           FIRST AMENDED
                                                                     CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 40 of 96 Page ID #:218




    1 safely slowing their vehicle.
    2        98.    In light of the defectively designed braking system common to each
    3 Class Vehicle, Defendant knew and has known of the hazard and dangerous
    4 condition caused by consumers’ use of and reliance upon the Class Vehicles.
    5 Defendant knew and has known that if it disclosed the true facts about the danger
    6 posed by their braking systems, consumers would not purchase Class Vehicles, and
    7 Defendant would not be able to market and sell them. Defendant continues to
    8 produce and sell Class Vehicles despite their known defective condition that risks
    9 the lives of consumers and the public at large. Defendant has and continues to
   10 recklessly and intentionally ignore public hazard caused by its omission and
   11 concealment of the hazard posed by the defective braking systems present in Class
   12 Vehicles.
   13        99.    The information referred to in Paragraphs 1-6 and 13-82, supra, as well
   14 as Defendant’s awareness from its prior experience in lawsuits alleging the same
   15 defect, have all placed Defendant on notice of the danger posed by its Class
   16 Vehicles. Yet, Defendant has ignored the hazards known to it and continues to make
   17 profit-directed decisions in conscious disregard of the safety and well-being of
   18 California residents as well as the non-residents who bought or leased Class
   19 Vehicles in California.
   20        100. Defendant’s violations of the CLRA were willful and oppressive.
   21        101. As a result of Defendant’s violations of the CLRA, Plaintiffs and the
   22 Class are entitled to equitable relief and a declaration that Defendant’s conduct
   23 violates the CLRA.
   24        102. Plaintiffs provided Defendant with notice of its violations of the CLRA
   25 pursuant to California Civil Code section 1782(a). The Notice was transmitted to
   26 Defendant on October 16, 2018, by certified mail with return receipt. More than
   27 thirty days have passed, and, to date, Defendant has failed to remedy its violations.
   28 Therefore, Plaintiffs and members of the Class are entitled to seek monetary relief
                                                37                           FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 41 of 96 Page ID #:219




    1 for Defendant’s violations of the CLRA.
    2        103. Plaintiffs and members of the Class seek actual damages, punitive
    3 damages, statutory damages, restitution, attorneys’ fees, and any other relief proper
    4 under the CLRA. See Cal. Civ. Code § 1780.
    5                           SECOND CAUSE OF ACTION
    6                 (Violation of the California Unfair Competition Law)
    7        104. Plaintiffs adopt and incorporate all preceding paragraphs as if stated
    8 fully herein.
    9        105. California Business & Professions Code Section 17200 (hereinafter
   10 “Unfair Competition Law” or “UCL”) precludes unfair competition, i.e., the
   11 employment of any unlawful, unfair or fraudulent business acts or practices; and any
   12 unfair, deceptive, untrue or misleading advertising violative of Cal. Bus. & Prof.
   13 Code Section 17500. This prohibition extends to any act, omission or conduct, or
   14 pattern of activity, engaged in within California which affects the rights of
   15 consumers within the State of California and elsewhere.
   16        106. In marketing and selling the Class Vehicles, and in otherwise causing
   17 the Class Vehicles to be placed into the stream of commerce for use by consumers
   18 in the United States with defective braking systems, and in continuing to conceal
   19 this critical safety information regarding the dangers associated with the use of the
   20 Class Vehicles, Defendant made available for consumer use a dangerous and
   21 patently unsafe product which is not safely useable for its intended purpose.
   22 Defendant was and remains obligated to disclose the hazard associated with the
   23 Class Vehicles because of the public’s reasonable expectation that the Class
   24 Vehicles would not under normal and expected use suddenly and unexpectedly lose
   25 effective braking power. In failing to disclose this critical safety issue which was
   26 known and readily apparent to Defendant but not to reasonable consumers,
   27 including Plaintiffs and the Class, Defendant engaged in fraudulent conduct under
   28 Cal. Bus. & Prof. Code §17200. Plaintiffs incorporate herein as though fully set
                                                38                           FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 42 of 96 Page ID #:220




    1 forth herein Paragraphs 1-6 and 13-82, supra, as particularized evidence of the
    2 pattern of concealment perpetrated by Defendant against Plaintiffs and the Class.
    3         107. The aforementioned conduct is unlawful within the meaning of the
    4 UCL in that, among other things, it violates the CLRA to the extent that Defendant
    5 represented, by the omission and concealment of critical safety information well-
    6 known to Defendant, that the Class Vehicles: (a) had characteristics, uses or benefits
    7 that they did not have in violation of Section 1770(a)(5) of the CLRA; and, (b) was
    8 of a particular standard, quality or grade when it was of another in violation of
    9 1770(a)(7) of the CLRA.
   10         108. Defendant’s conduct is unfair within the meaning of the UCL in that
   11 the alleged consumer injury is substantial, creating an unreasonable risk of
   12 catastrophic physical injury or death to any persons coming into contact with Class
   13 Vehicles. There is no countervailing benefit to having or continuing to conduct itself
   14 in the wrongful manner averred to herein.
   15         109. Were it not for the unfair competition of Defendant, the Class would
   16 not have purchased Class Vehicles.
   17         110. Plaintiffs have suffered an injury in fact, including the loss of money
   18 and/or property, as a result of Defendant’s unfair, unlawful and/or deceptive
   19 practices. In purchasing or leasing their vehicles, Plaintiffs relied on Defendant’s
   20 misrepresentations and/or omissions with respect to the safety, reliability and
   21 dependability of the vehicles.
   22         111. The members of the Class have and will continue to suffer injury in fact
   23 and lose money as a direct result of Defendant’s unfair competition in that each has
   24 expended money to purchase Class Vehicles, and have or will be caused to expend
   25 money to repair or replace their Class Vehicle with safe braking systems adequately
   26 designed to perform their only intended and expected function of consistently and
   27 safely slowing their vehicle.
   28 / / /
                                                  39                         FIRST AMENDED
                                                                    CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 43 of 96 Page ID #:221




    1        112. The wrongful conduct alleged herein occurred, and continues to occur,
    2 in the conduct of Defendant’s business. Defendant’s wrongful conduct is part of a
    3 pattern or generalized course of conduct that is still perpetuated and repeated, both
    4 in the State of California and nationwide.
    5        113. Plaintiffs request that this Court enjoin Defendant from continuing its
    6 unfair, unlawful, and/or deceptive practices and to restore to Plaintiffs any money
    7 Defendant acquired through unfair competition including, but not limited to,
    8 restitution and disgorgement.
    9        114. As a result of Defendant’s unfair competition, Plaintiffs and the Class
   10 are entitled to appropriate equitable relief, including injunctive relief, and monetary
   11 relief in the form of restitution (including fluid recovery if certified as a class
   12 action).
   13                              THIRD CAUSE OF ACTION
   14                 (Violation of the Song-Beverly Consumer Warranty Act
   15                               Breach of Implied Warranty)
   16        115. Plaintiffs adopt and incorporate all preceding paragraphs as if stated
   17 fully herein.
   18        116. The Class Vehicles are “consumer goods” within the meaning of Cal.
   19 Civ. Code § 1791(a).
   20        117. Defendant GM is a “manufacturer” within the meaning of Cal. Civ.
   21 Code § 1791(j).
   22        118. Defendant impliedly warranted to Plaintiffs that Class Vehicles were
   23 “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a) & 1792.
   24        119. Cal.      Civ.   Code     §   1791.1(a)   states:   “Implied   warranty   of
   25 merchantability” or “implied warranty that goods are merchantable” means that the
   26 consumer goods meet each of the following:
   27         (1)     Pass without objection in the trade under the contract description.
   28         (2)     Are fit for the ordinary purposes for which such goods are used.
                                                   40                           FIRST AMENDED
                                                                       CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 44 of 96 Page ID #:222




    1          (3)   Are adequately contained, packaged, and labeled.
    2          (4)   Conform to the promises or affirmations of fact made on the container
    3          or label.
    4         120. The Class Vehicles would not pass without objection in the automotive
    5 trade because the Class Vehicles do not conform with federal and California
    6 standards, and were sold with known and dangerous braking defect, as described
    7 above.
    8         121. The Class Vehicles are not fit for ordinary purposes for which they are
    9 used.
   10         122. The Class Vehicles are not adequately labeled because the labeling
   11 misrepresents that the vehicles are compliant with federal and California standards
   12 or fails to disclose such noncompliance.
   13         123. The Class Vehicles do not conform to the promises or affirmations of
   14 fact made on their label because their label misrepresents their fuel efficiency.
   15         124. Defendant’s conduct deprived Plaintiffs of the benefit of their bargain
   16 and have caused the Class Vehicles to be worth less than what Plaintiffs paid.
   17         125. As a direct and proximate result of Defendant’s conduct, Plaintiffs
   18 received goods whose condition substantially impairs their value. Plaintiffs have
   19 been damaged by the diminished value of the vehicles, the vehicles’ malfunctioning,
   20 and actual and potential increased maintenance and repair costs.
   21         126. Plaintiffs have complied with all obligations under the warranty, or
   22 otherwise have been excused from performance of said obligations as a result of
   23 Defendant’s conduct.
   24         127. Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiffs are entitled to
   25 damages and other legal and equitable relief including, but not limited to the
   26 purchase price of the Class Vehicles or the overpayment or diminution in value of
   27 the Class Vehicles, and attorney’s fees and costs.
   28 / / /
                                                  41                           FIRST AMENDED
                                                                      CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 45 of 96 Page ID #:223




    1   VII. RELIEF REQUESTED
    2         WHEREFORE, Plaintiffs and the Class pray judgment against Defendant GM
    3 as follows:
    4         a.    For an order certifying this action as a class action pursuant to Rule 23
    5 of the Federal Rules of Civil Procedure and appointing Plaintiffs as the
    6 representatives of the Class and their counsel as Class Counsel;
    7         b.    For an order requiring Defendant General Motors LLC to buy back
    8 Class Vehicles, refund the purchase price of Class Vehicles, or otherwise, free of
    9 charge, replace the defective braking systems of Class Vehicles with defect-free
   10 components and ensure that Class Vehicles comply with applicable safety standards;
   11         c.    For an order awarding Plaintiffs actual, statutory or any other form of
   12 damages provided by statute or required by law;
   13         d.    For an order awarding Plaintiffs punitive damages in an amount
   14 sufficient to serve as an appropriate punishment in light of all the facts and
   15 circumstances, including Defendant’s financial condition;
   16         e.    For an order awarding Plaintiffs restitution, disgorgement or any other
   17 equitable relief provided by statute or as the Court deems proper;
   18         f.    For an order awarding Plaintiffs pre-judgment and post-judgment
   19 interest;
   20         g.    For an order awarding Plaintiffs reasonable attorney fees and costs of
   21 suit, including expert witness fees; and
   22 / / /
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                                                 42                           FIRST AMENDED
                                                                     CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 46 of 96 Page ID #:224




    1       h.    For an order awarding such other and further relief as this Court may
    2 deem just and proper.
    3 DATED: November 21, 2018          Respectfully submitted,
    4
                                        KIESEL LAW LLP
    5
    6
    7                                   By:          /s/ Melanie Meneses Palmer
                                              Paul R. Kiesel
    8
                                              Jeffrey A. Koncius
    9                                         Melanie Meneses Palmer
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                                                                  CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 47 of 96 Page ID #:225




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Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 48 of 96 Page ID #:226




    1   VIII. DEMAND FOR JURY
    2        Plaintiffs Scott Peckerar and Samantha Peckerar, individually and on behalf
    3 of the Class, demand a trial by jury.
    4 DATED: November 21, 2018                Respectfully submitted,
    5
                                              KIESEL LAW LLP
    6
    7
    8                                         By:          /s/ Melanie Meneses Palmer
    9                                               Paul R. Kiesel
                                                    Jeffrey A. Koncius
   10                                               Melanie Meneses Palmer
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                                                                        CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 49 of 96 Page ID #:227




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                                                              CLASS ACTION COMPLAINT
Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 50 of 96 Page ID #:228




               EXHIBIT “A”
  Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 51 of 96 Page ID #:229
                                      SB-10057667-3895

                                                                                                  File in Section:
                                                                                                     Bulletin No.:      PIT5361
                  Service Bulletin                                                                           Date:      February, 2015



                       PRELIMINARY INFORMATION
Subject:        Diagnostic Tip - Additional Brake Pedal Effort

Models:         2015 Cadillac Escalade Models
                2014 Chevrolet Silverado 1500
                2015 Chevrolet Silverado 1500, Suburban, Tahoe
                2014 GMC Sierra 1500
                2015 GMC Sierra 1500, Yukon Models
The following diagnosis might be helpful if the vehicle exhibits the symptom(s} described in this Pl.
Condition/Concern
In some rare situations, a customer may comment on a hard brake pedal or that increased effort is needed to
depress the brake pedal. While performing normal diagnostics, fluid may be found in the brake booster and/or the
booster vacuum line.
In some rare situations, a customer may comment on a hard brake pedal or that increased effort is needed to
depress the brake pedal. While performing normal diagnostics, fluid may be found in the brake booster and/or the
booster vacuum line.
Recommendation/Instructions
If engine oil is found, it is important the following parts are replaced. If not, the condition will return.
  1. Vacuum Pump
  2. Vacuum Line between the booster and the pump
  3. Brake Booster
  4. Master Cylinder
Parts Information
            Part Number                                      Description                                          Qty
              12662552                                    PUMPASM-VAC                                              1
  23144638(VYU)or23135228(w/
                                                     PIPEASM-P/BBOOS VAC                                           1
            oVYU)
              23135220                                  BOOSTERASM-PB
                                                                    /                                              1
              20925765                                  CYLINDER-BRK MAS                                           1

excel sheet
Warranty Information
For vehicles repaired under warranty use:
                                          .,,

           Labor Operation                                    Description                                     Labor Time
                                            Replace vacuum pump, vacuum pump to booster
              2480118 *                      hose, vacuum brake booster, and brake master                        2.8 hr
                                                              cylinder
              * This is a unique labor operation for bulletin use only. This will not be published in the Labor Time Guide.

Please follow this diagnostic or repair process thoroughly and complete each step. If the condition exhibited is
resolved without completing every step, the remaining steps do not need to be performed.
               Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 52 of 96 Page ID #:230
                                                                                                                                  Bulletln No.: Pff53$1B
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                                  Service Bulletin
                           PRELIMINARY INFORMATION
 Subject:            Dltgnoelle 11p • Addltlontl Brue PedJI Effort


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               Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 53 of 96 Page ID #:231
                   12658179                                            BELT -VAC PUMP                                                  1

                   12658178                                       BELT - NC COMPRESSOR                                                 1

Warranty Information
For vehicln repaired under warranty use:


               Labor Operation                                             Description                                            Labor Time


                   2480118 *                        Replace vacuum pump, belta, vacuum pump to booster                               2.8 hr
                                                    hose, vacuum brake booster, and brake master cylinder


                                                     • Tllis is a unique labor operation for bulletin use only.

Please follow this diagnostic or repair process thoroughly and complete each step. If the condition exhlbHed la resolved without completing every step, Iha
remaining slllp& do not need to be perfcrmed.
Additional SI Keywords
C0299

GM bulletins are intended for use by profesgional technicians, NOT a "do-it-yourselfer". They are written to inform these technicians of conditions that may
occur on 90!Tle vehicles, or to provide information that could assist in Iha proper service of a vehicle. Property 1tainad technicians haw the equipment, tools,
safety instruction&, and know-how to do a job properly and safely. lfll condition i& described, DO NOT asgume that the bulletin appliea to your vehicle, or that
your vehicle will have that condition. Sea your GM dealer for information on whether your vehicle may benefit from the information.




G.         WE SUPPORT VOLI.NTARY l.cHNCIAN CERTIFICATKJO




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                                  Document 32 Filed 11/21/18 Page 54 of 96 Page    I or .:
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                                           2015 Chevrolet Suburban - 2WD (1GNSCKKC8FRS00471] I
                    Escalade, Escalade ESV, Suburban, Tahoe, Yukon, Yukon XL Service Manual 7527571        I   View All Bulletins   I
                                                           DocumentID:4748532
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  #PIT5361C� Diagnostic Tip - Additional Brake Pedal Effort
  - (Mar 15, 2017)
  Subject: Diagnostic Tip· Additional Brake Pedal Effort




                                                 ----·---------                  ··-------···· ---

                                              Model Year:                     VIN:
      Brand:                  Model:                                                               Engine:        Transmission:
                                            from          to          from              to

    Cadillac                 Escalade     2015-2016                    All        All                All                   All

                             Silverado
    Chevrolet                             2014-2016                    All        All                All                  All
                             1500

    Chevrolet                Suburban     2015-2016                    All        All                All                   All

    Chevrolet                Tahoe        2015-2016                    All        All                All                   All

                             Sierra
    GMC                                   2014-2016                     All       All                All                   All
                             1500

    GMC                      Yukon        2015-2016                    All        All                All                   All

 Supersession Statement

 This Pr was superseded to update the parts list. Please discard PIT5361B.
 You are about to leave the website of General Motors and view the content of an external website. That
 website is not owned or controlled by, or affiliated with General Motors or its subsidiaries, and it is
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 §���Mfion/_Concern.
  WarniM some rare situations, a customer may comment on a hard brake pedal or that increased effort
       is needed to depress the brake pedal. Also, in some cases a tick or ticking noise may be heard,
       which may sound like an exhaust manifold leak. While performing normal diagnostics, fluid may
       be found in the brake booster and/or the booster vacuum line.

             Important: P,1y close attention to the fluid and if it is determined to be engine oil, it could be
                       coming from the vacuum pump. The vacuum pump is belt-driven and mounted to the
                       side of the engine block. It is lubricated by pressurized engine oil.

  Re com mend at ion Linstructions
             If engine oil is found, it is important the following parts are replaced. If not, the condition will
             return.
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Document
     CasellJ:5:18-cv-02153-DMG-SP
              4748Y;2             Document 32 Filed 11/21/18 Page 55 of 96 Pagerage L. u, .:.
                                                                                ID #:233
            1. Vacuum Pump
            2. Vacuum Line between the booster and the pump
            3. Brake Booster
            4. Master Cylinder

 .e.arts Information

             Part Number                                      Description                                                       Qty

             12669488                                         PUMP ASM-VAC                                                      1

             23144638 (VYU) or
             23135228 (w/o VYU)
                                                              PIPE ASM-P/B BOOS VAC                                             1

             23135220                                         BOOSTER ASM-P/B                                                   1

             20925765                                         CYLINDER-BRK MAS                                                  1

 Warrnnty Information

          For vehicles repaired under warranty use:


             Labor Operation                                  Description                                                       Labor Time

                                                              Replace vacuum pump, vacuum
            2480118          *                                pump to booster hose, vacuum
                                                              brake booster, and brake master
                                                                                                                                2.8 hr
                                                              cylinder

             ><   This is   a unique labor operation for bulletin use only.

          Please follow this diagnostic or repair process thoroughly and complete each step. If the condition
          exhibited is resolved without completing every step, the remaining steps do not need to be
          performed.

 GM bulletins are intended for use by professional technicians, NOT a ''do·1t·yourselfer". They are written to inform these                  WE SUPPORT
 tech�1;:·ans of concit1c,ns that may occur on some veh,(les. or to proYide information that could assist In the proper service of a
 ,er,,c �. Propedy trained technicians have the equipment, tools, safety 1111truct1ons, ilnd know-how to do a Job properly an�
                                                                                                                                             VOLUNTARY
 safely If a ond1t1on •s describe<l, DO NOT assume that the bulletin applies to your vehicle, or that your vehlde v,111 have that         TECHNICIAN
 co·id tion. See your GM �ealer for 1nformatoon on whetner your vehicle may benefit from the lnronnallon.                                CERTIFICATION




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Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 56 of 96 Page ID #:234




                EXHIBIT “B”
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                 https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 57 of 96 Page ID #:235
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                                                        2015
                                              CHEVROLET SUBURBAN 1500
                                                                        SUYRWD




                                                                    7            INVESTIGATIONS O




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                                                                OVIRALL SAff:TY RATING




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1 of 7                                                                                                                   10/18/2017, 3:57 PM
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           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 58 of 96 Page ID #:236



           COMPLAINTS           RECAU.S           INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         9 1 4 Manufacturer Communications
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& MANUFACTURER COMMUNICATIONS BY AFFECTED COMPONENTS

          All (914)   AIR BAGS (2)   BACK OVER PREVENTION (4)        ELECTRICAL SYSTEM (271)       ELECTRONIC STABIUTY CONTROL (2)       ENGINE (96)

          ENGINE AND ENGINE COOLING (48)         EQUIPMENT (346)     EQUIPMENT ADAPTIVE (64)       EXTERIOR LIGHTING (4)

          FORWARD COLLISION AVOIDANCE (1)          FUEL SYSTEM, DIESEL (1)    FUEL SYSTEM, GASOLINE (26)     FUEL SYSTEM, OTHER (16)

          FUEUPROPULSION SYSTEM (1)        INTERIOR LIGHTING (1)      LANE DEPARTURE (3)     LATCHES/LOCKS/LINKAGES (5)        PARKING BRAKE (4)

          POWER TRAIN (56)      SEAT BELTS (3)     SEATS (23)    ffoi'MjV-l41W•          SERVICE BRAKES, AIR (4)      SERVICE BRAKES, ELECTRIC (2)

          SERVICE BRAKES, HYDRAULIC (10)         STEERING (24)    STRUCTURE (44)     SUSPENSION (31)     TIRES (15)    TRACTION CONTROL SYSTEM (1)

          TRAILER HITCHES (2)     VEHICLE SPEED CONTROL (3)        VISIBILITY (26)   WHEELS (14)




         March 1 4, 2017 MANUFACTURER COMMUNICATION NUMBER: PIT5509B
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES


         June 27, 201 6 MANUFACTURER COMMUNICATION NUMBER: PIT5361B
         Components: SERVICE BRAKES
                                                                                                                                                         8
         NHTSA ID Number: 1 0081053

         Manufacturer Communication Number: PIT5361 B

         Summary

         THIS PRELIMINARY INFORMATION COMMUNICATION PROVIDES INFORMATION TO THE TECHNICIAN ON THE STEPS
         TO DIAGNOSE AND REPAIR VEHICLES THAT MAY HAVE ISSUES WERE THE CUSTOMER WILL NEED INCREASED EFFORT
         TO DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE BRAKE BOOSTER AND/OR THE BOOSTER
         VACUUM LINE. TECHNICIAN WILL NEED TO REPLACE VACUUM PUMP. BRAKE BOOSTER, MASTER CYLINDER, VACUUM
         PUMP BELT AND THE VACUUM LINE BETWEEN THE BOOSTER AND THE PUMP.

         14 Affected Products ....


         Vehicles

         MAKE                                            MODEL                                                  YEAR


         CADILLAC                                        ESCALADE                                               2015-2016




4 of 7                                                                                                                                               10/18/2017, 3:57 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 59 of 96 Page ID #:237

         MAKE                                   MODEL                                   YEAR


         CHEVROLET                              SILVERADO 1 500                          2014-201 6



         CHEVROLET                              SUBURBAN                                 2015-201 6




         CHEVROLET                              TAHOE                                    2015-201 6




         GMC                                    SIERRA 1 500                             2014-201 6



         GMC                                    YUKON                                    2015-201 6



         1 Associated Document •

         Service Bulletin Document
         i SB-1 0081053-2280.pdf     95.829KB


         I!! Request Research (Services fees apply)




         February 1 5, 201 6 MANUrACT\JRER COMMUNICATION NUMBER: PIT5377D
         Components: SERVICE BRAKES



         February 1 0, 201 6 MANUrACTURER COMMUNICATION NUMBER: PIT5361A
         Components: SERVICE BRAKES
                                                                                                                     8
         NHTSA ID Number: 1 0096208

         Manufacturer Communication Number: PIT5361 A

         Summary

         THIS PRELIMINARY INFORMATION COMMUNICATION PROVIDES INFORMATION TO THE TECHNICIAN ON THE STEPS
         TO DIAGNOSE AND REPAIR VEHICLES THAT MAY HAVE ISSUES WERE THE CUSTOMER WILL NEED INCREASED EFFORT
         TO DEPRESS THE BRAKE PEDAL. TECHNICIAN MAY FIND FLUID IN THE BRAKE BOOSTER AND/OR THE BOOSTER
         VACUUM LINE. TECHNICIAN WILL NEED TO REPLACE VACUUM PUMP, BRAKE BOOSTER, MASTER CYLINDER, VACUUM
         PUMP BELT AND THE VACUUM LINE BETWEEN THE BOOSTER AND THE PUMP.
         19 Affected Products •


         Vehicles

         MAKE                                   MODEL                                   YEAR




5 of 7                                                                                                           10/18/2017, 3:57 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 60 of 96 Page ID #:238

                                             MODa                                       YEAR



         CADILLAC                            ESCALADE                                   2015-2016



         CADILLAC                           ESCALADE ESV                                2015-2016



         CHEVROLET                           SILVERADO 1 500                            2014-2016



         CHEVROLET                           SUBURBAN                                   2014-2016



         CHEVROLET                          TAHOE                                       2015-2016



         GMC                                 SIERRA 1 500                               2014-2016



         GMC                                YUKON                                       2015-2016



         GMC                                YUKON XL                                    2015-2016


         n Request Research (Services fees apply)




         November 10, 201 5 MN«BCIUUR COIUJNICATION NUMBER: PrT52<41C
         Components: SERVICE BRAKES, ELECTRICAL SYSTEM




          f-   prev                                            Pag e 1 of2                                       next -+


         Recent.lJ Searched


         2015
         CHEVROLET SUBURB.AN 1500
         SUVRWD




6 of 7                                                                                                           10/18/2017, 3:57 PM
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               EXHIBIT “C”
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                                  https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 62 of 96 Page ID #:240
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                                                             2015
                                                    CADILLAC ESCALADE ESV
                                                                        SUVAWD




                                                                    5            INVESTIGATIONS O

                                                                                 COIIPLAINTS   16




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1 of 8                                                                                                                   10/18/2017, 3:34 PM
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           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 63 of 96 Page ID #:241



           COMPLAINTS             RECAU.S    INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         1 6 Complaints
         for 201 5 CADI LLAC ESCALADE ESV
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (16)   ELECTRICAL SYSTEM (1)   ENGINE (1)    ENGINE AND ENGINE COOLING (1)   EXTERIOR LIGKTING (1)   FUElJPROPULSION SYSTEM (1)

          POWER TRAIN (2)       (h£1Hi+'I:�fj§)   STRUC11.IRE (1)    SUSPENSION (1)   UNKNOWN OR OTHER (6)    VEHICLE SPEED CONTROL (2)

          VISIBILITY/WIPER (1)




         August 1 8, 201 6 NHTSA ID NUMBER: 10896962
         Components: SERVICE BRAKES
                                                                                                                                           8
         NHTSA ID Number: 1 0896962
         Incident Date August 2, 2016
         Consumer Location HARRIMAN, NY
         Vehicle Identification Number 1 GYS4SKJ4FR****

         Summary of Complaint
         CRASH            No                 BRAKES COMPLETELY FAILED. I PULLED INTO TRAIN PARKING SPOT AND THE CARS
                                             WOULD NOT STOP. I HAP TO KEEP PUMPING THE BRAKES AND EVENTUALLY IT JUST
         FIRE             No
                                             STOPPED. I TRIED IT GAIN AND THE BRAKES WERE HARD AND COULDN'T PUSH THEM
         INJURIES           0                DOWN. I AM SO LUCKY THAT I WAS NOT ON A HIGHWAY GOING FAST WITH MY KIDS IN
                                             THE CAR.
         DEATHS             O

                                             ADILLAC SAID I NEEDED THE HYDRO BOOST REPLACED.
         1 Affected Product .....


         Vehicle

         MAKE                                             MODEL                                     YEAR


         CADILLAC                                         ESCALADE                                  2015



         r Request Research (Services fees apply)



         July 29, 201 6 NHTSA ID NUMBER: 10891627
                                                                                                                                           8
4 of 8                                                                                                                                10/18/2017, 3:34 PM
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                         https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 64 of 96 Page ID #:242
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 0891 627
         Incident Date June 1 8, 2016
         Consumer Location PHOENIX, AZ
         Vehicle Identification Number 1 GYS4PKJ8FR****

         Summary of Complaint
         CRASH          Na              AT 1 5000 MILES AND ORIGINAL OWNER WHILE TOWING OUR BRAKES COMPLETELY
                                        GAVE OUT. NO WARNING SIGN, NO LEAKAGE, ONLY 1 SYMPTOM A FEW MONTHS PRIOR
         FIRE           Na
                                        WHERE THE BRAKE PEDDLE WAS MUSHY. DEALERSHIP SAID IT WAS FINE. EVERYTHING
         INJURIES        0              WORKED FINE DRIVING IT THROUGHOUT DAY. STOPPED FOR DINNER JUST BEFORE WE
                                        ENTERED MOUNTAIN PASS. GOT IN SUV TO LEAVE FOR HOME AND HAD NO BRAKES AT
         DEATHS          0
                                        ALL. EMERGENCY BRAKE WON'T EVEN KICK IN TO BE USED FOR EMERGENCIES. THE
                                        VEHICLE GAVE NO WARNING SIGNS, ENGINE OR BRAKE LIGHT WARNINGS. NO
                                        CHANGES IN BRAKE PRESSURE, NO LEAKS UNDER VEHICLE OR ON ENGINE. IT WAS AN
                                        INSTANT GIVE OUT OF BRAKES AND COULD HAVE HAPPENED WHILE DRIVING.
                                        FORTUNATELY THEY DID NOT GIVE OUT WHILE MOVING MORE THAN 3 MPH SO WE ARE
                                        STILL ALIVE. DEALERSHIP AND GM BOTH SAID IT WAS NORMAL FOR BRAKES TO GIVE
                                        OUT AND NOT HAVE ANY BRAKES WHEN THE BRAKE MASTER CYLINDER GIVES OUT.
                                        THIS IS NOT NORMAL! THEY REPLACED THE MASTER CYLINDER AND ALL WORKS FINE
                                        NOW. HOWEVER I FEEL THIS IS A MAJOR VEHICLE SAFETY ISSUE IN THAT FOR A
                                        VEHICLE TO COMPLETELY LOSE ALL OF IT'S BRAKING ABILITY BUT NOT BE PREWARNED
                                        THAT THERE IS A PROBLEM IS EXTREMELY DANGEROUS. IF WE DIDN'T STOP FOR
                                        DINNER THE BRAKES WOULD HAVE GIVEN OUT IN THE MOUNTAIN PASS AND ME AND
                                        MY FAMILY WOULD MORE THAN LIKELY BE DEAD AT THE BOTTOM OF A MOUNTAIN
                                        CLIFF! WE ARE EXTREMELY AFRAID TO DRIVE THIS VEHICLE NOW AND GM HAS NO
                                        INTEREST IN BUYING IT BACK OR HELPING US GET OUT OF IT. THEY JUST SAID "JUST
                                        WAIT TO SEE IF IT HAPPENS AGAIN" WHICH TO ME, MEANS, WAIT UNTIL YOU CAUSE A
                                        FATALITY. THEY ALSO SAID THIS ISN'T HAPPENING TO OTHER GM VEHICLES.
         1 Affected Product ....


         Vehicle

         MAKE                                    MODEL                            YEAR


         CADILLAC                                ESCALADE                         2015



         r Request Research (Services fees apply)



         March 31, 201 6 NHTSA ID NUMBER: 10852756
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 0852756
         Incident Date November 13, 201 5



5 of 8                                                                                                        10/18/2017, 3:34 PM
2015 CADILLAC ESCALADE ESV SUV AWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CADILLAC/ESCALADE%2520E...
            Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 65 of 96 Page ID #:243
         Consumer Location ANAHEIM, CA

         Vehicle Identification Number 1GYS4NKJ7FR****

         Summary of Complaint
                            No         THE VEHICLE HAD VIRTIJALLY NO BRAKES TO STOP IT AND 1 1,21 5 MILES. GENERAL
                                       MOTORS ALREADY HAD SERVICE WARNINGS OUT TO DEALERS DATED 7/17/201 5, GM
         FIRE               No
                                       DOCUMENT ID #4242788. THEY SAY THEY REPLACED PADS AND ROTORS. AT 23,589
         INJURIES           0          MILES THE VEHICLE NEEDED BRAKES AGAIN. SERVICE MANAGER TELLS US THAT THIS
                                       IS A KNOWN PROBLEM AT GENERAL MOTORS. THEY HAVE EVEN ISSUED A NEW
         DEA'IHS            0
                                       WARNING FOR 201 6 MODELS. I CONSIDER THE VEHICLE TO BE UNSAFE TO DRIVE IN
                                       THAT THE BRAKES CAN GO OUT WITHOUT ANY WARNING.

         1 Affected Product •


         Vehlcle

                                                  MODEL                          YEAR



         CADILLAC                                 ESCALADE                       2015


         IEl Request Research (Services fees apply)




         November 23, 201 5 NimtA 1uu•at: 10195343
         Components: SERVICE BRAKES, SUSPENSION, POWER TRAIN




         Recently Searched


         2015
         CADILLAC ESCALADE ESV
         SUVAWD

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         OVERALL SAFETY RATING




         2016


6 of 8                                                                                                       10/18/2017, 3:34 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                 https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 66 of 96 Page ID #:244
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                                                        2015
                                              CHEVROLET SUBURBAN 1500
                                                                        SUYRWD




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           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 67 of 96 Page ID #:245



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         October 1 , 2017 NHTSA ID NUMBER: 11030722
         Components: SERVICE BRAKES
                                                                                                                                                 8
         NHTSA ID Number: 1 1 030722
         Incident Date June 29, 2017
         Consumer Location LAC DU FLAMBEAU, WI
         Vehicle Identification Number 1 GNSKKKC7FR****

         Summary of Complaint
         CRASH                                 WHILE DRIVING ON 190 IN STOP AND GO TRAFFIC, THE CAR IN FRONT OF ME STOPPED. I
                                               APPLIED MY BRAKES AND THE PEDAL WAS HARD AND WOULD NOT DEPRESS. AS A
         FIRE               No
                                               RESULT MY CAR WOULD NOT STOP AND I HIT THE CAR IN FRONT OF ME IN THE REAR
         INJURIES           3                  END. MY AIR BAGS WENT OFF. I RECEIVED AN AIR BAG BURN. THE CAR IN FRONT OF ME
                                               STRUCK THE CAR IN FRONT OF HIM. BOTH OTHER DRIVERS CLAIM THEY WERE
         DEATHS             0
                                               INJURED. MY CAR COST $1 5,300 TO REPAIR. CHEVROLET IS AWARE OF THIS PROBLEM,
                                               ISSUING PRELIMINARY SERVICE BULLETIN PIT5361 IN 201 5, ADDENDUM B IN 2016 AND
                                               ADDENDUM B IN 2017. THE PROBLEM IS A FAULTY VACUUM PUMP, MASTER CYLINDER,
                                               BRAKE BOOSTER, VACUUM LINE, AND VACUUM PUMP BELT. I WAS NEVER INFORMED OF
                                               THIS PROBLEM. I HAVE BEEN DRIVING 50 YEARS AND THIS IS MY FIRST CHARGEABLE
                                               ACCIDENT.
         1 Affected Product ....

         Vehicle

         MAKE                                               MODEL                                       YEAR



         CHEVROLET                                          SUBURBAN                                    2015




4 of 8                                                                                                                                       10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
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         � Request Research (Services fees apply)



         September 26, 2017 NHTSA ID NUMBER: 11030016
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 03001 6
         Incident Date September 26, 2017
         Consumer Location LLANO, TX
         Vehicle Identification Number 1 GNSCKKC7FR****

         Summary of Complaint
         CRASH         Na                 TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. WHILE EXITING THE
                                          PARKING LOT AT 5 MPH, THE BRAKES FAILED TO WORK WITHOUT WARNING. THE
         FIRE          Na
                                          CONTACT HAD TO CHANGE THE GEAR TO PARK IN ORDER TO STOP THE VEHICLE. THE
         INJURIES       0                 VEHICLE WAS TOWED TO THE DEALER (BOB PRICE CHEVROLET BUICK GMC, 1 225 S
                                          STATE HWY 1 6, FREDERICKSBURG, TX 78624) WHERE IT WAS DIAGNOSED THAT THE
         DEATHS         0
                                          BRAKE BOOSTER AND THE BRAKE PUMP NEEDED TO BE REPLACED. THE VEHICLE WAS
                                          NOT REPAIRED. THE MANUFACTURER WAS NOT CONTACTED. THE APPROXIMATE
                                          FAILURE MILEAGE WAS 51,800.
         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         r Request Research (Services fees apply)



         August 28, 2017 NHTSA ID NUMBER: 11020065
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 020065
         Incident Date August 1 8, 2017
         Consumer Location CENTERVILLE, MA
         Vehicle Identification Number 1 GNSKKKCOFR****

         Summary of Complaint
         CRASH         Na                 THE BRAKES ON MY 2015 CHEVY SUBURBAN ARE LOCKING WHEN DRIVING A LOW
                                          SPEED. THE PROBLEM STARTED ALL OF THE SUDDEN WHILE DRIVING UNDER DRY ROAD
         FIRE          Na
                                          CONDITIONS ON A CITY STREET. IF YOU PRESS ON THE BRAKE PEDAL . II DOES NOT
         INJURIES       0                 MOVE AND THE CAR DOES NOT STOPPED. I ALMOST HIT A FAMILY OF 4 THAT WAS



5 of 8                                                                                                        10/18/2017, 3:17 PM
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           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 69 of 96 Page ID #:247
         DEATHS         0               CROSSING IN FRONT OF ME. THE CAR HAS BEEN AT DICK BEARD CHEVROLET IN
                                        HYANNIS, MA AND THEY ARE SAYING THAT THERE IS NO ISSUE WITH THE BRAKES AND
                                        AVOIDING SOLVING THE PROBLEM. IVE CALLED CHEVROLET 4 TIMES AND THEY ARE
                                        NOT CALLING ME BACK. THE CAR IS NOT SAFE TO DRIVE AT ALL.
         1 Affected Product •

         Vehicle

         MAKE                                       MODEL                        YEAR


         CHEVROLET                                  SUBURBAN                     2015



         i:: Request Research (Services fees apply)



         June 1 7, 2017 NHTSA ID NUMBER: 10995718
         Components: SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 099571 8
         Incident Date June 1 7, 2017
         Consumer Location MCQUEENEY, TX
         Vehicle Identification Number 1 GNSCJKC3FR****

         Summary of Complaint
         CRASH         No               BRAKE BOOSTER WENT OUT WHILE DRIVING WITH MY CHILDREN IN THE CAR!
         FIRE          No

         INJURIES       O

         DEATHS         O


         1 Affected Product •

         Vehicle

         MAKE                                       MODEL                        YEAR


         CHEVROLET                                  SUBURBAN                     2015



         c Request Research (Services fees apply)



         June 1 4, 2017 NHTSA ID NUMBER: 10995134
         Components: SERVICE BRAKES
                                                                                                                8

6 of 8                                                                                                      10/18/2017, 3:17 PM
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           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 70 of 96 Page ID #:248

         NHTSA ID Number: 10995134

         Incident Date October 14, 2016

         Consumer Lotatlon GAINESVILLE, FL

         Vehlcle Identification Number 1GNSCJKC4FR"***

         Summary of Complaint

                                        BRAKES STOPPED WORKING • FIRST TIME IT HAPPENED I THOUGHT IT WAS MY
                                        IMAGINATION AS I WAS IN A PARKING LOT GOING EXTREMELY SLOW. NEXT DAY IT
         FIRE          No
                                        HAPPENED WHEN BACKING OUT OF MY DRIVEWAY. HAD TO PRESS BRAKES
         INJURIES       0               EXTREMELY HARD AND IT ROLLED TO A STOP AS IT HIT CURB ON OTHER SIDE OF ROAD.
                                        TOOK IT TO DEALER AND THEY REPLACE THE VACUUM BOOSTER WHICH HAD FAILED
         DEA1HS         0
                                        AT APROX. 50,000 MILES. NOT COVERED UNDER WARRANTY. EVERY OTHER PART OF
                                        BRAKES BESIDES NORMAL WEAR AND TEAR IS COVERED. I WAS LUCKY IT HAPPENED IN
                                        MY DRIVEWAY AND NOT WHILE DRIVING AT HIGHER SPEEDS IN TRAFFIC.

                                        I HAVE ADDITIONAL COMPLAINTS ABOUT THIS VEHICHLE. THE CLIPS HOLDING
                                        DRIVERS SEAT HAD TO BE REPLACED AT 40,000 MILES BECAUSE SEAT WAS SLIDING
                                        FROM SIDE TO SIDE. THEY ARE ALL READY LOOSE AGAIN AT 60,000 MILES ALTHOUGH
                                        NOT AS BAD AS FIRST TIME. MY AC CONDENSER WENT OUT AT 62,000 MILES. IT HAS
                                        BEEN ON NATIONAL BACKORDER FOR 7 WEEKS AND I AM STILL WAITING. THE CAR
                                        SHAKES ON THE INTERSTATE AT APROX 70 ·75 MILES PER HOUR. THE DEALERSHIP
                                        HAS BALANCED THE TIRES AND THIS HAS NOT FIXED PROBLEM. AFTER DRIVING ON
                                        INTERSTATE AT HIGH SPEEDS FOR EXTENDED PERIOD OF TIME, WHEN STOPPING THE
                                        CAR IDLES VERY ROUGH AND HAS EVEN CUT OFF. THE DEALERSHIP RAN A FUEL
                                        INDUCTION SERVICE. WILL SEE IF IT WORKS WHEN I GET IT BACK AFTER THEY
                                        REPLACE AC CONDENSER. THE CAR SHIFTS HORRIBLY, ESPECIALLY WHEN GOING
                                        SLOW. WAS TOLD THAT IS A PROBLEM WITH THE FUEL EFFICIENT SHIFTING AND
                                        THERE IS NO REPAIR.••JUST TO MANUALLY SHIFT. ALSO, THE HOOD OF THE CAR HAS
                                        TINY RUST SPOTS COMING THROUGH THE PAINT ALL OVER IT.

         1 Affected Product •


         Vehicle

         MAKE                                      MODE.                            YEAR



         CHEVROLET                                 SUBURBAN                         2015



         r.i Request Resean::h (Services fees apply)




           � prev                                             Page 1 of4                                       next -+


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7 of 8                                                                                                         10/18/2017, 3:17 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 71 of 96 Page ID #:249



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         April 1 0, 2017 NHTSA ID NUMBER: 10971549
         Components: SERVICE BRAKES, ENGINE, VEHICLE SPEED CONTROL
                                                                                                                                                 8
         NHTSA ID Number: 1 0971 549
         Incident Date April 8, 2017
         Consumer Location LORTON, VA
         Vehicle Identification Number 1 GNSKJKCXFR****

         Summary of Complaint
         CRASH              No                 I WAS ON SLOPE HILL. MY.BRAKES ARE NOT RESPONDING. I PUT IN NEW BRAKES 2
                                               MONTHS AGO AND BRAKES NOT RESPONDING? MY CAR ALMOST WENT DOWN THE
         FIRE               No
                                               HILL. I CALLED ROADSIDE ASSISTANCE AND HAD THEM TOWED MY CAR TO
         INJURIES           0                  DEALERSHIP. THEY FOUND THE ISSUE VACUUM PUMP BROKE. ALSO MY
                                               TRANSMISSION HAVING ISSUE SINCE 2 MONTHS. THEY STILL HAVEN'T FOUND ISSUES.
         DEATHS             0
                                               I CAN'T CONTROL MY SPEED AND ENGINE GIVES A KICK WHEN ENTERING HIGHWAY.
                                               THEY WON'T REPAIR THIS ISSUE BECAUSE THEIR "MECHANICS" CANNOT FIND THE
                                               ISSUE. THIS IS THIS WORST VEHICLE TO DRIVE ANDUNSAFE FOR DRIVERS AND
                                               PASSENGERS.
         1 Affected Product .....

         Vehicle

         MAKE                                               MODEL                                       YEAR


         CHEVROLET                                          SUBURBAN                                    2015



         r Request Research (Services fees apply)




4 of 8                                                                                                                                       10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                     https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 72 of 96 Page ID #:250
         February 28, 2017 NHTSA ID NUMBER: 10957711
         Components: SERVICE BRAKES
                                                                                                               8
         NHTSA ID Number: 1 095771 1

         Incident Date February 28, 2017

         Consumer Location TEXARKANA, TX

         Vehicle Identification Number 1 GNSCKKCSFR****

         Summary of Complaint

         CRASH          Y•             WHILE DRIVING HER VEHICLE TODAY MY WIFE DEPRESSED HER BRAKE TO STOP AND
                                       SHE SAID THE BRAKE FELT LIKE PUSHING ON A RUBBER TIRE. THE CAR WOULD NOT
         FIRE           No
                                       STOP CAUSING HER TO RUN A STOP SIGN AND HIT ANOTHER VEHICLE. WE HAD THE
         INJURIES        2             SAME PROBLEM LAST MONTH AND THE VEHICLE WAS TAKEN TO THE CHEVROLET
                                       DEALERSHIP AND "REPAIRED" ACCORDING TO THE CURRENT SAFETY BULLETIN ISSUED
         DEATHS          0
                                       BY CHEVROLET. THIS COLLISION CAUSED THE OTHER PERSON TO GO TO THE
                                       HOSPITAL VIA EMS AND MY WIFE WAS TAKEN BY POV TO ER FOR EVALUATION.
                                       OBVIOUSLY WHATEVER "FIX" WAS DONE BY THE DEALERSHIP WAS NOT THE CAUSE OF
                                       THE PROBLEM. I WAS TOLD THE VACUUM ASSIST PUMP AND HOSES WERE REPLACED,
                                       BUT THE VEHICLE STILL HAD THE SAME ISSUE.

         1 Affected Product ....


         Vehicle

         MAKE                                    MODEL                          YEAR


         CHEVROLET                               SUBURBAN                       2015



         r- Request Research (Services fees apply)




         February 23, 2017 NHTSA ID NUMBER: 10956664
         Components: SERVICE BRAKES, ELECTRONIC STABILITY CONTROL, SUSPENSION
                                                                                                               8
                                                                                                               -


         NHTSA ID Number: 1 0956664

         Incident Date January 1 5, 2016

         Consumer Location COVINA, CA

         Vehicle Identification Number 1 GNSCKKC4FR****

         Summary of Complaint

         CRASH          No             CAR ONLY HAS 60,000 MILES BRAKE BOOSTER IS GOING OUT AND CHEVY KNOWS
                                       THERE IS A PROBLEM BUT HAVE NOT RECALLED. ALSO FRONT SHOCKS ARE GOING
         FIRE           No
                                       OUT DUE TO MAGNETIC RIDE SYSTEM LOTS OF PEOPLE HAVE THE SAME PROBLEM
         INJURIES        0             CHEVY ONCE AGAIN HAS NOT RECALLED!
         DEATHS          O




5 of 8                                                                                                     10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 73 of 96 Page ID #:251
         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         c Request Research (Services fees apply)



         November 28, 201 6 NHTSA ID NUMBER: 10928435
         Components: SERVICE BRAKES
                                                                                                                   8
         NHTSA ID Number: 1 0928435
         Incident Date November 28, 201 6
         Consumer Location HARVEY. LA
         Vehicle Identification Number IGNSCIKC6FR****

         Summary of Complaint
         CRASH         No                I HAVE A 2015 CHEVY. SIIRIIBBAN LT THE BRAKE PEDAL IS HARD TO PRESS AND THE
                                         CAR CONTINUE TO ROLL EVEN AFTER I APPLY THE BRAKE DESPITE THE ROTOR AND
         FIRE          No
                                         ALL THE PADS HAVE BEEN REPLACED.....THIS IS VERY DANGEROUS.
         INJURIES       O

         DEATHS         O


         1 Affected Product •

         Vehicle

         MAKE                                     MODEL                            YEAR


         CHEVROLET                                SUBURBAN                         2015



         c Request Research (Services fees apply)



         October 3, 201 6 NHTSA ID NUMBER: 10911185
         Components: SERVICE BRAKES
                                                                                                                   8
         NHTSA ID Number: 1 091 1 1 85
         Incident Date October 1, 2016
         Consumer Location BOCA RATON, FL




6 of 8                                                                                                         10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                       https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 74 of 96 Page ID #:252
         Vehicle Identification Number 1GNSCJKC8FR****

         Summaryof Complaint
                                      TL* THE CONTACT OWNS A2015 CHEVROLET SUBURBAN. THE CONTACT STATED THAT
                                      WHILE DRIVING AT 60 MPH, THE BRAKE PEDAL WAS DEPRESSED AND THE VEHICLE
         FIRE
                                      HESITATED TO REDUCE IN SPEED. THE VEHICLE WAS TOWED TO THE DEALER WHERE IT
         INJURIES        0            WAS DIAGNOSED THAT THE BRAKE BOOSTER FAILED. THE VEHICLE WAS NOT
                                      REPAIRED. THE FAILURE MILEAGE WAS 67,000.
         DEAlHS          0


         1 Affected Product ...


         Vehicle

         MAKE                                   MODEL                             YEAR



         CHEVROLET                              SUBURBAN                          2015



         n Request Research (Services fees apply)




           � prev                                          Page 2 of 4                                       next �


         Recently Searched


         2015
         CHEVROLET SUBURBAN 1500
         SUVRWD


         OVERAll. SAFETY RATING




7 of 8                                                                                                       10/18/2017, 3:18 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                                         https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 75 of 96 Page ID #:253



           COMPLAINTS            RECAU.S        INVESTIGATIONS           MANUFACTURER COMMUNICATIONS




         96 Complaints
         for 201 5 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (96)   AIR BAGS (5)    ELECTRICAL SYSTEM (12)      ELECTRONIC STABIUTY CONTROL (3)     ENGINE (1O)   EQUIPMENT (1)

          EQUIPMENT ADAPTIVE (2)        EXTERIOR LIGHTING (4)    FUEL/PROPULSION SYSTEM (6)     POWER TRAIN (11)   SEAT BB..TS (1)   SEATS (4)

         (hMdv Hie•   1:l
                                    STEERING (12)   STRUCTURE (13)      SUSPENSION (6)   TIRES (1)   UNKNOWN OR OTHER (20)

          VEHICLE SPEED CONTROL (1)       VISIBILITY (2)   VISIBILITY/WIPER (2)   WHEELS (3)




         September 8, 201 6 NHTSA ID NUMBER: 10904757
         Components: SERVICE BRAKES
                                                                                                                                                 8
         NHTSA ID Number: 1 0904757
         Incident Date September 7, 2016
         Consumer Location BROCKTON, MA
         Vehicle Identification Number 1 GNSKHKC7FR****

         Summary of Complaint
         CRASH              No                 I AM WRITING ABOUT MY 2015 CHEVY SUBURBAN. I OWN A LIMOUSINE SERVICE AND
                                               USE THE SUBURBAN IN MY FLEET. YESTERDAY A DRIVER, WITH PASSENGERS, HAD A
         FIRE               No
                                               TOTAL FAILURE OF THE POWER BRAKING SYSTEM. IT IS AT A LOCAL REPAIR SHOP NOW,
         INJURIES           0                  AND I AM BEING TOLD THE AIR PUMP HAD BROKEN APART, INSIDE, SNAPPED THE FAN
                                               BELT RESULTING IN NO VACUUM GETTING TO THE POWER BRAKE SYSTEM, M�ER
         DEATHS             0
                                               WAS BARELY ABLE TO STOP THE VEHICLE BEFORE REAR ENDING ANOTHER CAR ON
                                               THE HIGHWAY. THE VEHICLE HAS 54,000 MILES AND I AM BEING TOLD IS OUT OF THE
                                               BUMPER TO BUMPER WARRANTY. THERE ARE ALSO NO OPEN RECALLS. I AM
                                               REPORTING THIS ISSUE TO THE NHTSA AND THE MASSACHUSETTS ATTORNEY
                                               GENERAL.:$ OFFICE, AS I BELIEVE THIS IS AN IMMEDIATE DANGER TO THE GENERAL
                                               MOTORING PUBLIC. I JUST CONTACTED CHEVROLET BY PHONE AND EMAIL. THE
                                               REPRESENTATIVE ON THE PHONE SAID ALL SHE COULD TELL ME IS THAT IT'S OUT OF
                                               WARRANTY, THERE WERE NO RECALLS, AND I AM BASICALLY ON MY OWN TO REPAIR. I
                                               HOPE YOU ARE ABLE TO INVESTIGATE THIS SITUATION, IDENTIFY THE CAUSE OF THIS
                                               FAILURE, AND COME UP WITH A REMEDY FOR THE SAFETY OF EVERYONE.
         1 Affected Product '""
         r Request Research (Services fees apply)



         September 8, 201 6 NHTSA ID NUMBER: 10904602


4 of 7                                                                                                                                       10/18/2017, 3:29 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                      https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 76 of 96 Page ID #:254
         Components: EXTERIOR LIGHTING, AIR BAGS, SERVICE BRAKES



         July 24, 201 6 NHTSA ID NUMBER: 10888039
         Components: ELECTRICAL SYSTEM, ENGINE, SERVICE BRAKES
                                                                                                                EE)

         March 1 5, 201 6 NHTSA ID NUMBER: 10849844
         Components: POWER TRAIN, SERVICE BRAKES, ELECTRICAL SYSTEM, STRUCTURE
                                                                                                                8
                                                                                                                -


         NHTSA ID Number: 1 0849844
         Incident Date July 1 8, 201 5
         Consumer Location Unknown
         Vehicle Identification Number 1 GNSCJKC9FR****

         Summary of Complaint
         CRASH          Na               TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. WHILE ATTEMPTING TO
                                         BRAKE THE VEHICLE, THE BRAKES MADE AN ABNORMAL LOUD NOISE. THE VEHICLE
         FIRE           Na
                                         WAS TAKEN TO THE DEALER WHERE IT WAS DIAGNOSED THAT THE BRAKES AND
         INJURIES        0               ROTORS NEEDED TO BE REPLACED. THE VEHICLE WAS REPAIRED; HOWEVER, THE
                                         FAILURE RECURRED. THE CONTACT STATED THAT THE BRAKES AND ROTORS HAD BEEN
         DEATHS          0
                                         REPLACED A TOTAL OF THREE TIMES SINCE THE PURCHASE OF THE VEHICLE. ALSO,
                                         WHILE ATTEMPTING TO ACCELERATE, THE VEHICLE HESITATED AND SLOWED DOWN.
                                         THE VEHICLE WAS TAKEN TO THE DEALER. THE CONTACT WAS INFORMED THAT THE
                                         VEHICLE HAD NOT FAILED AND THAT WAS HOW IT WAS CALIBRATED. THE CONTACT
                                         ALSO STATED THAT THE LIFTGATE FAILED TO OPEN AUTOMATICALLY AND HAD TO BE
                                         MANUALLY OPERATED. THE VEHICLE WAS TAKEN TO THE DEALER, BUT THE FAILURE
                                         COULD NOT BE DUPLICATED. THE MANUFACTURER WAS MADE AWARE OF THE
                                         FAILURES. THE FAILURE MILEAGE WAS 43,000.
         1 Affected Product ""
         "= Request Research (Services fees apply)



         January 4, 201 6 NHTSAID NUMBER: 10817620
         Components: STEERING, SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 0817620
         Incident Date December 1 2, 201 5
         Consumer Location SEAFORD, NY
         Vehicle Identification Number 1 GNSCJKC9FR****

         Summary of Complaint
         CRASH                           TL* THE CONTACT OWNS A 201 5 CHEVROLET SUBURBAN. THE CONTACT STATED THAT
                                         WHILE MAKING A LEFT TURN AT 20 MPH, THE BRAKE PEDAL WAS DEPRESSED AND
         FIRE           Na



5 of 7                                                                                                      10/18/2017, 3:29 PM
2015 CHEVROLET SUBURBAN 1500 SUV RWD | NHTSA                     https://www.nhtsa.gov/vehicle/2015/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 77 of 96 Page ID #:255
         INJURIES         1           FAILED TO RESPOND AS THE VEHICLE ACCELERATED WITHOUT WARNING. IN ADDITION,
                                      THE CONTACT STATED THAT THE POWER STEERING FAILED. AS A RESULT, THE
                          0
                                      CONTACT CRASHED INTO ANOTHER VEHICLE. A POLICE REPORT WAS FILED. THE
                                      CONTACT SUSTAINED HEAD, NECK, BACK AND WRIST INJURIES THAT REQUIRED
                                      MEDICAL ATTENTION. THE VEHICLE WAS TOWED BUT WAS NOT DIAGNOSED OR
                                      REPAIRED. THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE FAILURE
                                      MILEAGE WAS 46,000.

         1 Affected Product "'
         LI Request Research (Services fees apply)




           � prev                                        Page 3 of 4                                       next -+




         2015
         GMC YUKON DENALI XL 1500
         SUV4WD


         OVERAll. SAff:TY RATING




         2015
         CHEVROLET SUBURBAN 1500
         SUVRWD


         OVERAll. SAR'TY RATING




6 of 7                                                                                                     10/18/2017, 3:29 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                           https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 78 of 96 Page ID #:256
            United States Department o f Transpo rtatio n




                                                                                               - YBilClECOMPAAISONTOOL
         Look up another vehlcle           Year Make Model or VIN
                                                                                               a.ill Compere Nfety lnfonnatlon



                                                                 2015
                                                            CHEVROLET TAHOE
                                                                      SUV4WD




                                                                1Q               INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
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         cars.

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1 of 9                                                                                                                   10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                                      https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 79 of 96 Page ID #:257



           COMPLAINTS           RECAU.S           INVESTIGATIONS          MANUFACTURER COMMUNICATIONS




         1 33 Complaints
         for 201 5 CHEVROLET TAHOE
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (133)   AIR BAGS (5)   ELECTRICAL SYSTEM (29)        ELECTRONIC STABILITY CONTROL (4)         ENGINE (1 O)     ENGINE AND ENGINE COOLING (1)

          EQUIPMENT (2)      EQUIPMENT ADAPTIVE (2)      EXTERIOR LIGHTING (11)         FUEL/PROPULSION SYSTEM (3)         INTERIOR LIGHTING (2)

          POWER TRAIN (11)      SEAT BB..TS (7)    SEATS (5)    SERVICE BRAKES (11)       STEERING (14)    STRUCTURE (11)       SUSPENSION (6)     TIRES (1)

          UNKNOWN OR OTHER (28)        VEHla..E SPEED CONTROL (3)      VISIBILITY (2)     VISIBILITY/WIPER (3)     WHEELS (2)




         October 5, 2017 NHTSA ID NUMBER: 1 1031984
         Components: SERVICE BRAKES
                                                                                                                                                           8
         NHTSA ID Number: 1 1 031984

         Incident Date October 4, 2017

         Consumer Location MACOMB, Ml

         Vehicle Identification Number 1 GNSKBKC3FR"'***

         Summary of Complaint

         CRASH                                    HARP BRAKE PEDAL, INCREASED EFFORT IS NEEDED TO DEPRESS BRAKE PEDAL. MOST
                                                  COMMONLY AT SPEEDS <35 MPH. OFTEN VEHICLE DOES NOT WANT TO STOP. VEHICLE
         FIRE              No
                                                  WAS IN MODERATE MORNING RUSH HOUR TRAFFIC. VEHICLE IN FRONT STOPPED
         INJURIES          0                      QUICKLY FROM 40 MPH. TRIED PRESSING BRAKE PEDAL ON 2015 TAHOE TO STOP.
                                                  PEDAL WAS EXTREMELY HARD AND VEHICLE WOULD NOT STOP.
         DEATHS            O


         1 Affected Product .....


         Vehicle

         MAKE                                                  MODEL                                             YEAR


         CHEVROLET                                             TAHOE                                             2015



         I:" Request Research (Services fees apply)




         September 25, 2017 NHTSA ID NUMBER: 11025403
         Components: SERVICE BRAKES
                                                                                                                                                           8
4 of 9                                                                                                                                                10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 80 of 96 Page ID #:258

         NHTSA ID Number: 1 1 025403
         Incident Date September 22. 2017
         Consumer Location Tl FTON, GA
         Vehicle Identification Number 1 GNSCBKC4FR****

         Summary of Complaint
         CRASH          No             AS I WAS SITTING IN THE VEHICLE IN PARK, I PLACED MY FOOT ON THE BRAKE AND
                                       NOTICED THAT THE BRAKE ASSIST HAD ACTIVATED WHILE IN PARK. I WAS UNABLE TO
         FIRE           No
                                       PUSH THE PETAL DOWN. I WAS ABLE TO MOVE THE SHIFTER INTO DRIVE WITH MY
         INJURIES        0             FOOT ON THE BRAKE, BUT THE VEHICLE IMMEDIATELY PLUNGED FORWARD. A..§.!
                                       CONTINUED TO TRY AND DEPRESS THE BRAKE PETAL, THE VEHICLE FINALLY SLOWED
         DEATHS          0
                                       TOASTO P. BEFORE I COULD GET OFF THE ROAD AND OUT OF TRAFFIC, THE BRAKE
                                       ASSIST CONTINUED TO BE LOCKED UP AND THERE WAS NO BRAKES IF I SHIFTED INTO
                                       REVERSE. I WAS EXTREMELY CONCERNED FOR MINE AND MY CHILDREN'S SAFETY AS
                                       THIS COULD HAVE CAUSED A VERY SERIOUS ACCIDENT. THE BRAKES DID NOT STOP
                                       THE VEHICLE AND WERE DEFECTIVE PUE TO THE VACUUM PUMP "GOING OUT". THE
                                       VEHICLE IS ONLY 2 YEARS OLD AND HAS 49K MILES.
         1 Affected Product ....

         Vehicle

         MAKE                                    MODEL                            YEAR


         CHEVROLET                               TAHOE                            2015



         r Request Research (Services fees apply)



         September 1 1 , 2017 NHTSA ID NUMBER: 11022709
         Components: SERVICE BRAKES
                                                                                                                  8
         NHTSA ID Number: 1 1 022709
         Incident Date September 10, 2017
         Consumer Location MONSEY. NY
         Vehicle Identification Number 1 GNSK2EC4FR****

         Summary of Complaint
         CRASH          Y•             WHEN APPLYING THE BRAKES MY CAR DOESN'T STOP 1 00% OF THE TIME. 1 TIM E
                                       DURING HIGHWAY SLOW M OVING TRAFFIC, 3 TIMES BACKING OUT OF MY DRIVEWAY
         FIRE           No
                                       (FLAT SURFACE), 4 TIMES WHEN ON INCLINE/DECLINE OF ROAD. WHEN APPLYING
         INJURIES        0             BRAKES. HORRIBLE CHATTERING VIBRATION COMES FROM LEFT FRONT TIRE AREA.
                                       CHATTER VIBRATION IS FELT IN BRAKE PEDAL. NO MATTER HOW HARD I APPLY THE
         DEATHS          0
                                       BRAKE THE CAR KEEPS GOING - IT WILL FINALLY STOP. BUT I ALMOST HIT THE CAR IN
                                       FRONT OF ME AT THE ONE HIGHWAY OCCURRENCE, 2 TIMES CAR FINALLY STOPPED



5 of 9                                                                                                        10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 81 of 96 Page ID #:259
         JUST BEFORE GOING OVER EDGE OF PROPERTY WHEN PULLING FORWARD &
         BACKWARD TO TURN AROUND IN TIGHT AREA. IN EACH INSTANCE I AM MOVING AT A
         VERY SLOW SPEED. I CONTACTED DEALERSHIP, THEY TOLD ME I WASN'T THE ONLY ONE
         CALLING ABOUT THIS HAPPENING BUT SINCE l'M OVER 36,000 WARRANTY THEY WILL
         CHARGE ME TO CK IT OUT,
         1 Affected Product ...

         Vehicle

         MAKE                              MODEL                                         YEAR



         CHEVROLET                         TAHOE POLICE PURSUIT                          2015



         r- Request Research (Services fees apply)



         September 5, 2017 NHTSA ID NUMBER: 1 1 021419
         Components: SERVICE BRAKES
                                                                                                                8
         NHTSA ID Number: 1 1 021 41 9
         Incident Date September 4, 2017
         Consumer Location WILLIAMSPORT, PA
         Vehicle Identification Number 1 GNSKBKCOFR****

         Summary of Complaint
         CRASH          No               WHILE DRIVING ON THE ROAD IN TRAFFIC I WENT TO PRESS ON THE BRAKES AND
                                         NOTICED THEY HAD BECOME STIFF AND HAD TO PRESS THEM AS HARD AS POSSIBLE
         FIRE           No
                                         TO SLOWLY STOP WHILE TRYING TO AVOID HITTING ANOTHER VEHICLE IN TRAFFIC. NO
         INJURIES       0                WARNING LIGHTS WERE ON IN THE DASH UNTIL I PULLED OVER AND RESTARTED
                                         VEHICLE A COUPLE OF TIMES. THEN I GOT THE ACTIVE BRAKE ASSIST SERVICE LIGHT
         DEATHS         O
                                         ON. I HAD THE VEHICLE TOWED TO THE NEAREST CHEVROLET SERVICE CENTER DUE
                                         TO THE VEHICLE NOT SAFE TO DRIVE.
         1 Affected Product ...

         Vehicle

         MAKE                                      MODEL                          YEAR


         CHEVROLET                                 TAHOE                          2015



         r Request Research (Services fees apply)



         August 29, 2017 NHTSA ID NUMBER: 1 1 020372



6 of 9                                                                                                      10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA                                https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 82 of 96 Page ID #:260
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 1020372

         Incident Date August 13, 2017

         Consumer Location CARMEL, IN

         Vehicle Identification Number 1 GNSKCKC1 FR**"'*

         Summary of Complaint

         CRASH                           TL* THE CONTACT OWNS A 2015 CHEVROLET TAHOE. THE CONTACT STATED THAT
                                         WHILE DRIVING AT 5 MPH, THE BRAKE PEDAL WAS APPLIED BUT FAILED TO RESPOND
         FIRE           NCI
                                         WITHOUT WARNING. THE VEHICLE WAS TOWED TO A LOCAL DEALER: COUGHLIN FORD
         INJURIES       0                OF CIRCLEVILLE LOCATED AT 24001 US HIGHWAY 23 S CIRCLEVILLE OH 49113 WHERE
                                         IT WAS DIAGNOSED THAT THE BRAKE SENSOR NEEDED TO BE REPLACED. THE VEHICLE
         DEATIIS        0
                                         WAS REPAIRED BUT THE FAILURE RECURRED. THE VEHICLE WAS THEN TOWED TO HARE
                                         CHEVROLET LOCATED AT 2001 STONY CREED RD NOBLESVILLE IN 46060 WHERE IT
                                         WAS DIAGNOSED THAT THE VACUUM PUMP NEEDED TO BE REPLACED. THE VEHICLE
                                         WAS REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE AND OPENED
                                         CASE # 8·31775454 BUT DID NOT OFFER ANY FURTHER ASSISTANCE. THE FAILURE
                                         MILEAGE WAS 31,000.

         1 Affected Product ...


         Vehicle

         MAKE                                    MODE.                           YEAR



         CHEVROLcT                               TAHOE                           2015



         n Request Researdl (Services fees apply)




           � prev                                           Page 1 of3                                      next �


         Recently Searched


         2015
         CHEVROLET TAHOE
         SUV4WD




7 of 9                                                                                                      10/18/2017, 3:50 PM
2015 CHEVROLET TAHOE SUV 4WD | NHTSA               https://www.nhtsa.gov/vehicle/2015/CHEVROLET/TAHOE/SUV/4WD
         Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 83 of 96 Page ID #:261




4 of 6                                                                                     10/18/2017, 3:52 PM
2016 CHEVROLET SUBURBAN 1500 SUV 4WD | NHTSA                                 https://www.nhtsa.gov/vehicle/2016/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 84 of 96 Page ID #:262
            United States Department o f Transpo rtatio n




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         Look up another vehlcle           Year Make Model or VIN
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                                                        201 6
                                              CHEVROLET SUBURBAN 1500
                                                                        SUV4WD




                                                                    4            INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
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         cars.

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1 of 6                                                                                                                   10/18/2017, 3:32 PM
2016 CHEVROLET SUBURBAN 1500 SUV 4WD | NHTSA                                          https://www.nhtsa.gov/vehicle/2016/CHEVROLET/SUBURBAN%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 85 of 96 Page ID #:263



           COMPLAINTS          RECAU.S         INVESTIGATIONS             MANUFACTURER COMMUNICATIONS




         23 Complaints
         for 201 6 C HEVROLET SUBU RBAN 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

                     ELECTRICAL SYSTEM (2)     ENGINE (3)      FUB.JPROPULSION SYSTEM (1)       POWER TRAIN (2)   SEAT BELTS (1)   SEATS (1)

         (hMdiv1:lfj@
          All (23)
                                STEERING (1)     STRUCTIJRE (4)      SUSPENSION (3)    TIRES (1)    UNKNOWN OR OTHER (8)

          VEHICLE SPEED CONTROL (4)    VISIBILITY (1)       VISIBILITY/WIPER (1)   WHEELS (3)




         Apri I 4, 2017 NHTSA 1D NUMBER: 10910,os
         Components: SERVICE BRAKES, ELECTRICAL SYSTEM, VEHICLE SPEED CONTROL
                                                                                                                                                   EE)

         March 1 3, 2017 NHTSA ID NUMBER: 10965728
         Components: SERVICE BRAKES, ENGINE, VEHICLE SPEED CONTROL
                                                                                                                                                   8
                                                                                                                                                   -


         NHTSA ID Number: 1 0965728
         Incident Date March 1 3, 2017
         Consumer Location LAND O' LAKES, FL
         Vehicle Identification Number 1 GNSCJKC3GR****

         Summary of Complaint

         CRASH            Na                   TL* THE CONTACT OWNS A 2016 CHEVROLET SUBURBAN. WHILE DRIVING 30 MPH, THE
                                               VEHICLE FAILED TO ACCELERATE. ALSO, THE BRAKES FAILED TO RESPOND WHEN THE
         FIRE             Na
                                               BRAKE PEDAL WAS DEPRESSED AND THE VEHICLE STALLED. THE FAILURE RECURRED
         INJURIES          D                   TWO MORE TIMES. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
                                               MANUFACTURER WAS MADE AWARE OF THE FAILURES. THE APPROXIMATE FAILURE
         DEATHS            O
                                               MILEAGE WAS 14,000.
         1 Affected Product ...

         Vehicle

         MAKE                                                MODEL                                         YEAR



         CHEVROLET                                           SUBURBAN                                      2016



         r Request Research (Services fees apply)



4 of 6                                                                                                                                         10/18/2017, 3:32 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                              https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 86 of 96 Page ID #:264
            United States Department o f Transpo rtatio n




                                                                                               - YBilClECOMPAAISONTOOL
         Look up another vehlcle           Year Make Model or VIN
                                                                                               a.ill Compere Nfety lnfonnatlon



                                                                     201 4
                                              CHEVROLET SILVERADO 1 500
                                                                     PU/RCRWD




                                                                17               INVESTIGATIONS O




                                                                    *****
                                                                OVIRALL SAff:TY RATING




         Safety Ratings.
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         cars.

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1 of 8                                                                                                                   10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 87 of 96 Page ID #:265



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)    ELECTRICAL SYSTEM (86)        ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         October 1 6, 2017 NHTSA ID NUMBER: 11033883
         Components: SERVICE BRAKES
                                                                                                                                                     8
         NHTSA ID Number: 1 1 033883
         Incident Date October 2, 2017
         Consumer Location LA VERN IA, TX
         Vehicle Identification Number 3GCPCTEC9EG-

         Summary of Complaint
         CRASH             No                    PER ATTACHED WORK ORDERS, MY BRAKES WERE GOING TO THE FLOOR IN REVERSE
                                                 ONLY. THEY REPLACED MASTER CYLINDER AND SAID ALL FIXED. SEVERAL WEEKS
         FIRE              No
                                                 LATER HAPPENED AGAIN SO NOW REPLACED VACUUM & BOOSTER PUMP. THAT WAS 2
         INJURIES          0                     WEEKS AGO. STILL WORKING AND FILED COMPLAINT WITH GM BUT THEY SAID
                                                 NOTHING THEY COULD DO. THESE HAVE NO MOVING OR MECHANICAL PARTS AND
         DEATHS            O
                                                 SHOULD PROBABLY NEVER WEAR OUT. PRIOR TO ALL THIS I WAS GETTING A REPORT
                                                 TO SERVICE ELECTRONIC TRAILER BRAKES BUT HAD NOT HOOKED UP A TRAILER?
                                                 WHEN FIRST POINTED THIS OUT THEY SAID COULD NOT FIND ANYTHING. SECOND
                                                 TIME THEY REPLACED ELECTRONIC SWITCH AS "BAD". PERSONALLY I FEEL IT HAD
                                                 NOTHING TO DO WITH ALL THE PARTS REPLACED AND FEEL STRONGLY THAT THIS IS
                                                 ELECTRONIC AND RELATED TO THE ABS BRAKING SYSTEM ELECTRONICS OR MOTHER
                                                 BOARD. VEHICLE WAS IN REVERSE MOVING SLOWLY. DAMAGED REAR BUMPER LAST
                                                 FAIL DUE TO UNABLE TO STOP VEHICLE. IF SOMEONE WAS BEHIND ME DIRECTING ME
                                                 THERE IS A GOOD CHANCE THEY COULD HAVE BEEN CRUSHED OR INJURED SERIOUSLY.
                                                 I FEEL THIS IS A RECALL WAITING TO HAPPEN.
         1 Affected Product ...


         Vehicle




4 of 8                                                                                                                                         10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 88 of 96 Page ID #:266

         MAKE                                   MODEL                               YEAR


         CHEVROLET                              SILVERADO 1 500                     2014


         c Request Research (Services fees apply)




         September 1 1 , 2017 NHTSA ID NUMBER: 11022580
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES, ELECTRONIC STABILITY
         CONTROL



         August 1 2, 2017 NHTSA ID NUMBER: 1 1014788
         Components: SERVICE BRAKES, UNKNOWN OR OTHER



         July 1 8, 2017 NHTSA ID NUMBER: 11006271
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 1 006271

         Incident Date July 1 8, 2017

         Consumer Location KYLE, TX

         Vehicle Identification Number N/A

         Summary of Complaint

         CRASH           No             WHILE DRIVING MY2014 SILVERADO MY BRAKES BECAME HARD TO USE. I HAD TO
                                        PUSH HARD WITH BOTH GET TO GET THEM TO WORK THEN I DROVE THE REST OF THE
         FIRE            No
                                        WAY AND THEY WHERE FINE UNTIL I TRIED TO PARK AND IT HAPPENED AGAIN. I FOUND
         INJURIES         0             ON A FORUM THAT THIS IS A VACCUME PUMP ISSUE THAT IS COMMON IN THIS YEAR.

         DEATHS           O


         1 Affected Product .....


         Vehicle

         MAKE                                   MODEL                               YEAR


         CHEVROLET                              SILVERADO 1 500                     2014


         r Request Research (Services fees apply)




5 of 8                                                                                                       10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                        https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...



                                                                                                                      e
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 89 of 96 Page ID #:267
         June 26, 2017 NKTSA ID ru.mst: 11001423
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 1001423

         Incident Date March 4, 2017

         Consumer Location COLUMBUS GROVE. OH

         Vehicle Identification Number 3GCUKREC4EG*"*


         Summary of Complaint

                        No             VERY VERY HARD BRAKE PEDDLE AT LOW SPEEDS. I HAVE BEEN TOLD THE VACUUM
                                       PUMP NEEDS REPLACED. THE VEHICLE HAD LESS THAN 50,000 MILES.
         FIRE           No

         INJURIES       O

         DEA1HS         O


         1 Affected Product ...


         Vehicle

         MAKE                                 MODa



         CHEVROLET                            SILVERADO 1 500                            2014



         u Request Research (Services fees apply)




           � prev                                               Page 1 of6                                       next -+




         2014
         CHEVROLET SILVERADO 1500
         PUJRCRWD



         OVERAU. Uff:TY RATING




6 of 8                                                                                                            10/18/2017, 3:37 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 90 of 96 Page ID #:268



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)     ELECTRICAL SYSTEM (86)       ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         June 21, 2017 NHTSA ID NUMBER: 11000538
         Components: SERVICE BRAKES
                                                                                                                                                     8
         NHTSA ID Number: 1 1 000538

         Incident Date May 2, 2017

         Consumer Location ROSHARON, TX

         Vehicle Identification Number N/A

         Summary of Complaint

         CRASH             No                     BRAKE PEDAL IS HARD TO PRESS IN MAKING VEHICLE HARD TO STOP

         FIRE              No

         INJURIES          O

         DEATHS            O


         1 Affected Product •


         Vehicle

         MAKE                                            MODEL                                                YEAR


         CHEVROLET                                       SILVERADO 1 500                                      2014



         r Request Research (Services fees apply)




         June 4, 2017 NHTSAID NUMBER: 10993037


4 of 7                                                                                                                                         10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 91 of 96 Page ID #:269
         Components: SERVICE BRAKES, UNKNOWN OR OTHER



         May 25, 2017 NHTSA ID NUMBER: 10991595
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0991 595
         Incident Date May 21, 2017
         Consumer Location ALEXANDRIA. VA
         Vehicle Identification Number 3GCUKREC7EG****

         Summary of Complaint
         CRASH           No            NO POWER BRAKES. AT LOW SPEEDS VACUUM PUMP DOES NOT PROVIDE ENOUGH
                                       VACUUM FOR BRAKES TO WORK. VERY HARD BRAKE PEDAL FEELS LIKE YOU HAVE NO
         FIRE            No
                                       BRAKES. THERE IS A SERVICE BULLETIN PIT5361 B WHEN I SPOKE TO CHEVROLET
         INJURIES         0            CUSTOMER SERVICE THEY TOLD ME MY TRUCK WASN'T COVERED UNDER THIS BUT IT
                                       CLEARLY IS. THIS IS VERY UNSAFE AND MIGHT CAUSE MANY ACCIDENTS OR DEATHS
         DEATHS           O


         1 Affected Product .....

         Vehicle

         MAKE                                 MODEL                                 VEAR



         CHEVROLET                            SILVERADO 1500                        2014



         c:: Request Research (Services fees apply)



         May 1 0, 2017 NHTSA ID NUMBER: 10984684
         Components: SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0984684
         Incident Date May 8, 2017
         Consumer Location RICHARDSON, TX
         Vehicle Identification Number 1 GCRCREH3EZ****

         Summary of Complaint
         CRASH           No            MY TRUCK HAS 43K MILES ON IT. DRIVING IT THE OTHER DAY ON A CITY STREET, I
                                       HEARD A SQUEALING SOUND, AND THEN THE BRAKES FAILED. I HAD TO PUSH DOWN
         FIRE            No
                                       REALLY HARD TO AVOID REAR ENDING A CAR IN FRONT OF ME ON MY WAY HOME.
         INJURIES         0            WHEN I GOT HOME I COULD SEE THAT THE BELT POWERING THE VACUUM ASSIST
                                       PUMP FOR THE BRAKES HAD SNAPPED. SO I WENT TO AUTOZONE AND PURCHASED
         DEATHS           O
                                       ANOTHER ONE. PUT IT ONE AND STARTED THE TRUCK. THE SQUEALING WAS QUITE



5 of 7                                                                                                       10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA              https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 92 of 96 Page ID #:270
         LOUD BECAUSE THE BELT WAS TURNING, BUT NOT THE VACUUM PUMP. SO I REMOVED
         THE PUMP AND DISCOVERED LARGE AMOUNTS OF METAL SHARDS IN THE OIL WHICH
         NOW MEANS I CAN'T DRIVE THE TRUCK WITHOUT RISKING TAKING OUT MY ENGINE.
         THIS SHOULD NOT BE HAPPENING ON A 3 YEAR OLD VEHICLE.

         1 Affected Product "'

         n Request Research (Services fees apply)




         April 27, 201 7 NlfTSA ID NUMBER: 10981050
         Components: SERVICE BRAKES




           +- prev                                    Page 2 of 6                                      next -+



         Recently Searched


         2014
         CHEVROLET SILVERADO 1500
         PUJRC RWD



         OVERALL.SAFETY RATING




         2016
         CADILLAC ESCALADE
         SUVRWD

         Nol llNII nl1Ald
         OVERALL SAFETY RATING




6 of 7                                                                                                  10/18/2017, 3:38 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 93 of 96 Page ID #:271



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)    ELECTRICAL SYSTEM (86)        ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         January 1 7, 201 7 NHTSA ID NUMBER: 10945715
         Components: SERVICE BRAKES, STEERING
                                                                                                                                                     8
         NHTSA ID Number: 1 094571 5
         Incident Date January 1 6, 2017
         Consumer Location MURFREESBORO, TN
         Vehicle Identification Number 3GCUKREH6EG****

         Summary of Complaint
         CRASH             No                    TL* THE CONTACT OWNS A 2014 CHEVROLET SILVERADO 1 500. WHILE DRIVING 20
                                                 MPH, THE POWER STEERING SEIZED WITHOUT WARNING. IN ADDITION, THE BRAKES
         FIRE              No
                                                 LOCKED UP WITHOUT WARNING. THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED.
         INJURIES          0                     THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE WAS
                                                 90,000.
         DEATHS            0


         1 Affected Product •


         Vehicle

         MAKE                                            MODEL                                                YEAR


         CHEVROLET                                       SILVERADO 1 500                                      2014



         r Request Research (Services fees apply)



         January 1 1 , 201 7 NHTSAID NUMBER: 10944290


4 of 7                                                                                                                                         10/18/2017, 3:43 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                          https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
              Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 94 of 96 Page ID #:272
         Components: SERVICE BRAKES

         NHTSA ID Number: 1 0944290

         Incident Date December 28, 2016

         Consumer Location SPARTA, NJ

         Vehicle Identification Number 3GCUKREC9EG****

         Summary of Complaint

         CRASH           Na             I WAS TRAVELING ON A HIGHWAY DOING 55 MPH. I SAY THE LIGHT TURN RED AND
                                        APPLIED MY BRAKES. THERE WERE NO BRAKES AS THE PEDAL WENT TO THE FLOOR.
         FIRE            Na
                                        FORTUNATELY WE WERE ABLE TO ROLL TO A STOP WITHOUT CRASHING INTO THE CAR
         INJURIES        0              IN FRONT. I WAS TOWED TO MY DEALER WHERE THEY DIAGNOSED IT AS�KE
                                        BOOSTER FAILURE. THIS IS JUST NOT RIGHT AND SEEMS TOO DANGEROUS FOR SUCH A
         DEATHS          O
                                        NEW VEHICLE.
         1 Affected Product ....

         Vehicle

         MAKE                                   MODEL                                      YEAR


         CHEVROLET                              SILVERADO 1 500                            2014



         i:   Request Research (Services fees apply)




         August 1 1 , 201 6 NHTSA ID NUMBER: 10895114
         Components: SERVICE BRAKES



         April 1 8, 2016 NHTSA ID NUMBER: 10860090
         Components: SEAT BELTS, SERVICE BRAKES, SUSPENSION



         January 20, 201 6 NHTSA ID NUMBER: 10121233
         Components: SERVICE BRAKES




              +- prev                                             Page 3 of 6                                      next --+



         Recently Searched


         2014


5 of 7                                                                                                              10/18/2017, 3:43 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                                      https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 95 of 96 Page ID #:273



           COMPLAINTS             RECAU.S          INVESTIGATIONS         MANUFACTURER COMMUNICATIONS




         452 Complaints
         for 201 4 C HEVROLET S I LVERADO 1 500
         FILT& COMPLAINTS BY AFFECTm COMPONENTS

          All (452)   AIR BAGS (27)     ELECTRICAL SYSTEM (86)       ELECTRONIC STABIUTY CONTROL (49)     ENGINE (58)     ENGINE AND ENGINE COOLING (6)

          EQUIPMENT (5)      EXTERIOR LIGHTING (16)      FUEL SYSTEM, GASOLINE (2)    FUELJPROPULSION SYSTEM (9)        LATCHES/LOCKS/LINKAGES (1)

          POWER TRAIN (79)       SEAT BELTS (20)     SEATS (24)   (hf'Mjv\:�HM            SERVICE BRAKES, HYDRAULIC (1)     STEERING (109)

          STRUCTURE (40)        SUSPENSION (33)     TIRES (7)     UNKNOWN OR OTHER (54)    VEHICLE SPEED CONTROL (15)      VISIBILITY (7)

          VISIBILITY/WIPER (8)     WHEELS (20)




         March 1 0, 201 5 NHTSA ID NUMBER: 10693235
         Components: STRUCTURE, SERVICE BRAKES



         January 1 6, 201 5 NHTSA ID NUMBER: 10673007
         Components: SERVICE BRAKES, VEHICLE SPEED CONTROL, AIR BAGS
                                                                                                                                                     8
         NHTSA ID Number: 1 0673007
         Incident Date January 14, 2015
         Consumer Location FORT SM ITH, AR
         Vehicle Identification Number 1 GCRCREC8EZ****

         Summary of Complaint
         CRASH             Y•                    I WAS GOING NORTH WHEN A VEHICLE SUDDENLY STOPPED IN FRONT OF ME. I BRAKED
                                                 AS QUICKLY AS POSSIBLE, THE 2014 CHEVY SILVERADO THAT I WAS DRIVING ONLY
         FIRE              No
                                                 SLOWLY CAME TO A STOP. UNFORTUNATELY, I REARENDED ANOTHER VEHICLE.
         INJURIES          1                     THANKFULLY I HAD NOT GOTTEN UP TO THE SPEED LIMIT (30MPH) AND WAS ONLY
                                                 GOING 20MPH. MY TRUCK WOULD NOT BRAKE QUICKLY. NO SCREECHING TIRES, NO
         DEATHS            0
                                                 BLACK MARKS ON THE ROAD. THE STOP WAS SO SLOW THAT I HAD TIME TO TURN THE
                                                 STEERING WHEEL AND ONLY DAMAGE PART OF MY FRONT END. THE GRILL, BUMPER,
                                                 AND HOOD WERE SMASHED IN. NO AIRBAGS CAME OUT OF THE TRUCK, AND MY
                                                 ONSTAR SERVICE SENSOR DID NOT GO OFF. AFTER COLLIDING WITH THE VEHICLE MY
                                                 2014 CHEVY SHUT OFF BY ITSELF. I HAD THE BRAKE STILL DEPRESSED & PUT THE
                                                 TRUCK INTO PARK *TR
         1 Affected Product .....


         Vehicle



4 of 7                                                                                                                                         10/18/2017, 3:46 PM
2014 CHEVROLET SILVERADO 1500 PU/RC RWD | NHTSA                   https://www.nhtsa.gov/vehicle/2014/CHEVROLET/SILVERADO%252...
           Case 5:18-cv-02153-DMG-SP Document 32 Filed 11/21/18 Page 96 of 96 Page ID #:274

         MAKE                                     MODEL                          YEAR


         CHEVROLET                                 SILVERADO                     2014



         c Request Research (Services fees apply)




         January 1 6, 201 5 NHTSA ID NUMBER: 10672998
         Components: AIR BAGS, VEHICLE SPEED CONTROL, SERVICE BRAKES
                                                                                                                 8
         NHTSA ID Number: 1 0672998

         Incident Date January 1 4, 2015

         Consumer Location FORT SM ITH, AR

         Vehicle Identification Number 1 GCRCREC8EZ****

         Summary of Complaint

         CRASH          Ya              I WAS GOING NORTH WHEN A VEHICLE SUDDENLY STOPPED IN FRONT OF ME. I BRAKED
                                        AS QUICKLY AS POSSIBLE, THE 2014 CHEVY SILVERADO THAT I WAS DRIVING ONLY
         FIRE           No
                                        SLOWLY CAME TO A STOP. UNFORTUNATELY. I REARENDED ANOTHER VEHICLE.
         INJURIES        1              THANKFULLY I HAD NOT GOTTEN UP TO THE SPEED LIMIT (30MPH) AND WAS ONLY
                                        GOING 20MPH. MY TRUCK WOULD NOT BRAKE QUICKLY. NO SCREECHING TIRES, NO
         DEATHS          0
                                        BLACK MARKS ON THE ROAD. THE STOP WAS SO SLOW THAT I HAD TIME TO TURN THE
                                        STEERING WHEEL AND ONLY DAMAGE PART OF MY FRONT END. THE GRILL, BUMPER,
                                        AND HOOD WERE SMASHED IN. NO AIRBAGS CAME OUT OF THE TRUCK, AND MY
                                        ONSTAR SERVICE SENSOR DID NOT GO OFF. *TR

         1 Affected Product ....


         Vehicle

         MAKE                                     MODEL                          YEAR


         CHEVROLET                                 SILVERADO                     2014



         l!l Request Research (Services fees apply)




         November 20, 2014 NHTSAID NUMBER: 10659651
         Components: ELECTRICAL SYSTEM, SERVICE BRAKES



         August 1 3, 2014 NHTSA ID NUMBER: 10622123
         Components: POWER TRAIN, STEERING, SERVICE BRAKES




5 of 7                                                                                                       10/18/2017, 3:46 PM
